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21
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
22

23    DANIELLE HOWARD MARTINEZ, an                      )
      individual and guardian ad litem, on behalf       ) CASE NO.
24
      of D.P., a minor, K.P., a minor, and T.W.,        )
25    a minor; AMBER WOOD, an individual;               ) JUDGE:
      LASHONDA HUBBARD, an individual                   )
26
      and guardian ad litem, on behalf of P.C., a       )
27    minor, all individually and on behalf of all      ) CLASS ACTION COMPLAINT
28                                                 1
                       MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
     Case 5:20-cv-01796-SVW-AFM Document 1 Filed 08/31/20 Page 2 of 106 Page ID #:2



1     others similarly situated,                  ) FOR DECLARATORY AND
2                                                 ) INJUNCTIVE RELIEF AND
                              Plaintiffs,         ) DAMAGES
3
      v.                                          )
4                                                 )
      GAVIN NEWSOM, in his official               )
5
      capacity as Governor of California;         )
6     STATE OF CALIFORNIA; TONY                   )
7
      THURMOND, in his official capacity as       )
      State Superintendent of Public Education    )
8     and Director of Education; CALIFORNIA )
9     DEPARTMENT OF EDUCATION;                    )
      STATE BOARD OF EDUCATION;                   )
10
      SONIA Y. ANGELL, in her official            )
11    capacity as the State Public Health Officer )
      and Department of Public Health Director; )
12
      CALIFORNIA HEALTH AND                       )
13    HUMAN SERVICES AGENCY;                      )
14
      CALIFORNIA DEPARTMENT OF                    )
      PUBLIC HEALTH; ALAMEDA                      )
15    COUNTY STUDENT EXCHANGE                     )
16    PROG.; ALAMEDA UNIFIED                      )
      SCHOOL DISTRICT; ALBANY CITY )
17
      UNIFIED SCHOOL DISTRICT;                    )
18    BERKELEY UNIFIED SCHOOL                     )
      DISTRICT; CALIFORNIA SCHOOL                 )
19
      FOR THE BLIND (STATE SPECIAL                )
20    SCHOOL); CALIFORNIA SCHOOL                  )
21
      FOR THE DEAF-FREMONT (STATE )
      SPECIAL SCHOOL); CASTRO                     )
22    VALLEY UNIFIED SCHOOL                       )
23    DISTRICT; DIAGNOSTIC CENTER,                )
      NORTHERN CALIFORNIA (STATE                  )
24
      SPECIAL SCHOOL); DUBLIN                     )
25    UNIFIED SCHOOL DISTRICT;                    )
      EMERY UNIFIED SCHOOL                        )
26
      DISTRICT; FREMONT UNIFIED                   )
27    SCHOOL DISTRICT; HAYWARD                    )
28                                                 2
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1     UNIFIED SCHOOL DISTRICT;                        )
2     LIVERMORE VALLEY JOINT                          )
      UNIFIED SCHOOL DISTRICT;                        )
3
      MOUNTAIN HOUSE ELEMENTARY                       )
4     SCHOOL DISTRICT; NEW HAVEN                      )
      UNIFIED SCHOOL DISTRICT;                        )
5
      NEWARK UNIFIED SCHOOL                           )
6     DISTRICT; OAKLAND UNIFIED                       )
7
      SCHOOL DISTRICT; PIEDMONT                       )
      CITY UNIFIED SCHOOL DISTRICT;                   )
8     PLEASANTON UNIFIED SCHOOL                       )
9     DISTRICT; SAN LEANDRO UNIFIED                   )
      SCHOOL DISTRICT; SAN LORENZO                    )
10
      UNIFIED SCHOOL DISTRICT; SBE -                  )
11    LATITUDE 37.8 HIGH SCHOOL;                      )
      SUNOL GLEN UNIFIED SCHOOL                       )
12
      DISTRICT; ALPINE COUNTY                         )
13    UNIFIED SCHOOL DISTRICT;                        )
14
      AMADOR; COUNTY UNIFIED                          )
      SCHOOL DISTRICT; BANGOR                         )
15    UNION ELEMENTARY SCHOOL                         )
16    DISTRICT; BIGGS UNIFIED                         )
      SCHOOL DISTRICT; CHICO                          )
17
      UNIFIED SCHOOL DISTRICT;                        )
18    DURHAM UNIFIED SCHOOL                           )
      DISTRICT; GOLDEN FEATHER                        )
19
      UNION; ELEMENTARY SCHOOL                        )
20    DISTRICT; GRIDLEY UNIFIED                       )
21
      SCHOOL DISTRICT; MANZANITA                      )
      ELEMENTARY SCHOOL DISTRICT;                     )
22    OROVILLE CITY ELEMENTARY                        )
23    SCHOOL DISTRICT; OROVILLE                       )
      UNION HIGH SCHOOL DISTRICT;                     )
24
      PALERMO UNION ELEMENTARY                        )
25    SCHOOL DISTRICT; PARADISE                       )
      UNIFIED SCHOOL DISTRICT;                        )
26
      PIONEER UNION ELEMENTARY                        )
27    SCHOOL DISTRICT; THERMALITO                     )
28                                               3
                     MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1     UNION ELEMENTARY SCHOOL                         )
2     DISTRICT; BRET HARTE UNION                      )
      HIGH SCHOOL DISTRICT;                           )
3
      CALAVERAS UNIFIED SCHOOL                        )
4     DISTRICT; MARK TWAIN UNION                      )
      ELEMENTARY SCHOOL DISTRICT;                     )
5
      VALLECITO UNION SCHOOL                          )
6     DISTRICT; COLUSA UNIFIED                        )
7
      SCHOOL DISTRICT; MAXWELL                        )
      UNIFIED SCHOOL DISTRICT;                        )
8     PIERCE JOINT UNIFIED SCHOOL                     )
9     DISTRICT; WILLIAMS UNIFIED                      )
      SCHOOL DISTRICT; ACALANES                       )
10
      UNION HIGH SCHOOL DISTRICT;                     )
11    ANTIOCH UNIFIED SCHOOL                          )
      DISTRICT; BRENTWOOD UNION                       )
12
      ELEMENTARY SCHOOL DISTRICT;                     )
13    BYRON UNION ELEMENTARY                          )
14
      SCHOOL DISTRICT; CANYON                         )
      ELEMENTARY SCHOOL DISTRICT;                     )
15    CONTRA COSTA SELPA SCHOOL                       )
16    DISTRICT; JOHN SWETT UNIFIED                    )
      SCHOOL DISTRICT; KNIGHTSEN                      )
17
      ELEMENTARY SCHOOL DISTRICT;                     )
18    LAFAYETTE ELEMENTARY                            )
      SCHOOL DISTRICT; LIBERTY                        )
19
      UNION HIGH SCHOOL DISTRICT;                     )
20    MARTINEZ UNIFIED SCHOOL                         )
21
      DISTRICT; MORAGA                                )
      ELEMENTARY SCHOOL DISTRICT;                     )
22    MT. DIABLO UNIFIED SCHOOL                       )
23    DISTRICT; OAKLEY UNION                          )
      ELEMENTARY SCHOOL DISTRICT;                     )
24
      ORINDA UNION ELEMENTARY                         )
25    SCHOOL DISTRICT; PITTSBURG                      )
      UNIFIED SCHOOL DISTRICT; SAN                    )
26
      RAMON VALLEY UNIFIED SCHOOL                     )
27    DISTRICT; SBE - JOHN HENRY                      )
28                                               4
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1     HIGH SCHOOL DISTRICT; SBE -                     )
2     ROCKETSHIP FUTURO ACADEMY;                      )
      WALNUT CREEK ELEMENTARY                         )
3
      SCHOOL DISTRICT; WEST                           )
4     CONTRA COSTA UNIFIED SCHOOL                     )
      DISTRICT; DEL NORTE COUNTY                      )
5
      UNIFIED SCHOOL DISTRICT;                        )
6     BLACK OAK MINE UNIFIED                          )
7
      SCHOOL DISTRICT; BUCKEYE                        )
      UNION ELEMENTARY SCHOOL                         )
8     DISTRICT; CAMINO UNION                          )
9     ELEMENTARY SCHOOL DISTRICT;                     )
      EL DORADO UNION HIGH SCHOOL                     )
10
      DISTRICT; GOLD OAK UNION                        )
11    ELEMENTARY SCHOOL DISTRICT;                     )
      GOLD TRAIL UNION ELEMENTARY                     )
12
      SCHOOL DISTRICT; INDIAN                         )
13    DIGGINGS ELEMENTARY SCHOOL                      )
14
      DISTRICT; LAKE TAHOE UNIFIED                    )
      SCHOOL DISTRICT; LATROBE                        )
15    SCHOOL DISTRICT SCHOOL                          )
16    DISTRICT; MOTHER LODE UNION                     )
      ELEMENTARY SCHOOL DISTRICT;                     )
17
      PIONEER UNION ELEMENTARY                        )
18    SCHOOL DISTRICT; PLACERVILLE                    )
      UNION ELEMENTARY SCHOOL                         )
19
      DISTRICT; POLLOCK PINES                         )
20    ELEMENTARY SCHOOL DISTRICT;                     )
21
      RESCUE UNION ELEMENTARY                         )
      SCHOOL DISTRICT; SILVER FORK                    )
22    ELEMENTARY SCHOOL DISTRICT;                     )
23    ALVINA ELEMENTARY SCHOOL                        )
      DISTRICT; BIG CREEK                             )
24
      ELEMENTARY SCHOOL DISTRICT;                     )
25    BURREL UNION ELEMENTARY                         )
      SCHOOL DISTRICT; CARUTHERS                      )
26
      UNIFIED SCHOOL DISTRICT;                        )
27    CENTRAL UNIFIED SCHOOL                          )
28                                               5
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1     DISTRICT; CLAY JOINT                            )
2     ELEMENTARY SCHOOL DISTRICT;                     )
      CLOVIS UNIFIED SCHOOL                           )
3
      DISTRICT; COALINGA-HURON                        )
4     UNIFIED SCHOOL DISTRICT;                        )
      DIAGNOSTIC CENTER, CENTRAL                      )
5
      CALIFORNIA (STATE SPECIAL                       )
6     SCHOOL); FIREBAUGH-LAS                          )
7
      DELTAS UNIFIED SCHOOL                           )
      DISTRICT; FOWLER UNIFIED                        )
8     SCHOOL DISTRICT; FRESNO                         )
9     UNIFIED SCHOOL DISTRICT;                        )
      GOLDEN PLAINS UNIFIED SCHOOL                    )
10
      DISTRICT; KERMAN UNIFIED                        )
11    SCHOOL DISTRICT; KINGS                          )
      CANYON JOINT UNIFIED SCHOOL                     )
12
      DISTRICT; KINGSBURG                             )
13    ELEMENTARY CHARTER SCHOOL                       )
14
      DISTRICT; KINGSBURG JOINT                       )
      UNION HIGH SCHOOL DISTRICT;                     )
15    LATON JOINT UNIFIED SCHOOL                      )
16    DISTRICT; MENDOTA UNIFIED                       )
      SCHOOL DISTRICT; MONROE                         )
17
      ELEMENTARY SCHOOL DISTRICT;                     )
18    ORANGE CENTER SCHOOL                            )
      DISTRICT; PACIFIC UNION                         )
19
      ELEMENTARY SCHOOL DISTRICT;                     )
20    PARLIER UNIFIED SCHOOL                          )
21
      DISTRICT; PINE RIDGE                            )
      ELEMENTARY SCHOOL DISTRICT;                     )
22    RAISIN CITY ELEMENTARY                          )
23    SCHOOL DISTRICT; RIVERDALE                      )
      JOINT UNIFIED SCHOOL                            )
24
      DISTRICT; SANGER UNIFIED                        )
25    SCHOOL DISTRICT; SELMA                          )
      UNIFIED SCHOOL DISTRICT;                        )
26
      SIERRA UNIFIED SCHOOL                           )
27    DISTRICT; WASHINGTON COLONY                     )
28                                               6
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1     ELEMENTARY SCHOOL DISTRICT;                     )
2     WASHINGTON UNIFIED SCHOOL                       )
      DISTRICT; WEST PARK                             )
3
      ELEMENTARY SCHOOL DISTRICT;                     )
4     WESTSIDE ELEMENTARY SCHOOL                      )
      DISTRICT; CAPAY JOINT UNION                     )
5
      ELEMENTARY SCHOOL DISTRICT;                     )
6     HAMILTON UNIFIED SCHOOL                         )
7
      DISTRICT SCHOOL DISTRICT;                       )
      LAKE ELEMENTARY SCHOOL                          )
8     DISTRICT; ORLAND JOINT                          )
9     UNIFIED SCHOOL DISTRICT;                        )
      PLAZA ELEMENTARY SCHOOL                         )
10
      DISTRICT; PRINCETON JOINT                       )
11    UNIFIED SCHOOL DISTRICT;                        )
      STONY CREEK JOINT UNIFIED                       )
12
      SCHOOL DISTRICT; WILLOWS                        )
13    UNIFIED SCHOOL DISTRICT;                        )
14
      ARCATA ELEMENTARY SCHOOL                        )
      DISTRICT; BIG LAGOON UNION                      )
15    ELEMENTARY SCHOOL DISTRICT;                     )
16    BLUE LAKE UNION ELEMENTARY                      )
      SCHOOL DISTRICT; BRIDGEVILLE                    )
17
      ELEMENTARY SCHOOL DISTRICT;                     )
18    CUDDEBACK UNION                                 )
      ELEMENTARY SCHOOL DISTRICT;                     )
19
      CUTTEN ELEMENTARY SCHOOL                        )
20    DISTRICT; EUREKA CITY                           )
21
      SCHOOLS SCHOOL DISTRICT;                        )
      FERNDALE UNIFIED SCHOOL                         )
22    DISTRICT; FIELDBROOK                            )
23    ELEMENTARY SCHOOL DISTRICT;                     )
      FORTUNA ELEMENTARY SCHOOL                       )
24
      DISTRICT; FORTUNA UNION HIGH                    )
25    SCHOOL DISTRICT; FRESHWATER                     )
      ELEMENTARY SCHOOL DISTRICT;                     )
26
      GARFIELD ELEMENTARY SCHOOL                      )
27    DISTRICT; GREEN POINT                           )
28                                               7
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1     ELEMENTARY SCHOOL DISTRICT;                     )
2     HYDESVILLE ELEMENTARY                           )
      SCHOOL DISTRICT; JACOBY                         )
3
      CREEK ELEMENTARY SCHOOL                         )
4     DISTRICT; KLAMATH-TRINITY                       )
      JOINT UNIFIED SCHOOL                            )
5
      DISTRICT; KNEELAND                              )
6     ELEMENTARY SCHOOL DISTRICT;                     )
7
      LOLETA UNION ELEMENTARY                         )
      SCHOOL DISTRICT; MAPLE CREEK                    )
8     ELEMENTARY SCHOOL DISTRICT;                     )
9     MATTOLE UNIFIED SCHOOL                          )
      DISTRICT; MCKINLEYVILLE                         )
10
      UNION ELEMENTARY SCHOOL                         )
11    DISTRICT; NORTHERN HUMBOLDT                     )
      UNION HIGH SCHOOL DISTRICT;                     )
12
      ORICK ELEMENTARY SCHOOL                         )
13    DISTRICT; PACIFIC UNION                         )
14
      ELEMENTARY SCHOOL DISTRICT;                     )
      PENINSULA UNION SCHOOL                          )
15    DISTRICT; RIO DELL                              )
16    ELEMENTARY SCHOOL DISTRICT;                     )
      SCOTIA UNION ELEMENTARY                         )
17
      SCHOOL DISTRICT; SOUTH BAY                      )
18    UNION ELEMENTARY SCHOOL                         )
      DISTRICT; SOUTHERN HUMBOLDT                     )
19
      JOINT UNIFIED SCHOOL                            )
20    DISTRICT; TRINIDAD UNION                        )
21
      ELEMENTARY SCHOOL DISTRICT;                     )
      BRAWLEY ELEMENTARY SCHOOL                       )
22    DISTRICT; BRAWLEY UNION HIGH                    )
23    SCHOOL DISTRICT; CALEXICO                       )
      UNIFIED SCHOOL DISTRICT;                        )
24
      CALIPATRIA UNIFIED SCHOOL                       )
25    DISTRICT; CENTRAL UNION HIGH                    )
      SCHOOL DISTRICT; EL CENTRO                      )
26
      ELEMENTARY SCHOOL DISTRICT;                     )
27    HEBER ELEMENTARY SCHOOL                         )
28                                               8
                     MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1     DISTRICT; HOLTVILLE UNIFIED                     )
2     SCHOOL DISTRICT; IMPERIAL                       )
      UNIFIED SCHOOL DISTRICT;                        )
3
      MAGNOLIA UNION ELEMENTARY                       )
4     SCHOOL DISTRICT; MCCABE                         )
      UNION ELEMENTARY SCHOOL                         )
5
      DISTRICT; MEADOWS UNION                         )
6     ELEMENTARY SCHOOL DISTRICT;                     )
7
      MULBERRY ELEMENTARY                             )
      SCHOOL DISTRICT; SAN PASQUAL                    )
8     VALLEY UNIFIED SCHOOL                           )
9     DISTRICT; SEELEY UNION                          )
      ELEMENTARY SCHOOL DISTRICT;                     )
10
      WESTMORLAND UNION                               )
11    ELEMENTARY SCHOOL DISTRICT;                     )
      BIG PINE UNIFIED SCHOOL                         )
12
      DISTRICT; BISHOP UNIFIED                        )
13    SCHOOL DISTRICT; DEATH                          )
14
      VALLEY UNIFIED SCHOOL                           )
      DISTRICT; INYO COUNTY CAREER                    )
15    TECHNICAL EDUCATION; LONE                       )
16    PINE UNIFIED SCHOOL DISTRICT;                   )
      OWENS VALLEY UNIFIED SCHOOL                     )
17
      DISTRICT; ROUND VALLEY JOINT                    )
18    ELEMENTARY SCHOOL DISTRICT;                     )
      ARVIN UNION SCHOOL DISTRICT;                    )
19
      BAKERSFIELD CITY SCHOOL                         )
20    DISTRICT; BEARDSLEY                             )
21
      ELEMENTARY SCHOOL DISTRICT;                     )
      BELRIDGE ELEMENTARY SCHOOL                      )
22    DISTRICT; BLAKE ELEMENTARY                      )
23    SCHOOL DISTRICT;                                )
      BUTTONWILLOW UNION                              )
24
      ELEMENTARY SCHOOL DISTRICT;                     )
25    CALIENTE UNION ELEMENTARY                       )
      SCHOOL DISTRICT; DELANO                         )
26
      JOINT UNION HIGH SCHOOL                         )
27    DISTRICT; DELANO UNION                          )
28                                               9
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1    ELEMENTARY SCHOOL DISTRICT;                   )
2    DI GIORGIO ELEMENTARY                         )
     SCHOOL DISTRICT; EDISON                       )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    EL TEJON UNIFIED SCHOOL                       )
     DISTRICT; ELK HILLS                           )
5
     ELEMENTARY SCHOOL DISTRICT;                   )
6    FAIRFAX ELEMENTARY SCHOOL                     )
7
     DISTRICT; FRUITVALE                           )
     ELEMENTARY SCHOOL DISTRICT;                   )
8    GENERAL SHAFTER ELEMENTARY                    )
9    SCHOOL DISTRICT; GREENFIELD                   )
     UNION SCHOOL DISTRICT; KERN                   )
10
     HIGH SCHOOL DISTRICT;                         )
11   KERNVILLE UNION ELEMENTARY                    )
     SCHOOL DISTRICT; LAKESIDE                     )
12
     UNION SCHOOL DISTRICT;                        )
13   LAMONT ELEMENTARY SCHOOL                      )
14
     DISTRICT; LINNS VALLEY-POSO                   )
     FLAT UNION SCHOOL DISTRICT;                   )
15   LOST HILLS UNION ELEMENTARY                   )
16   SCHOOL DISTRICT; MAPLE                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     MARICOPA UNIFIED SCHOOL                       )
18   DISTRICT; MCFARLAND UNIFIED                   )
     SCHOOL DISTRICT; MCKITTRICK                   )
19
     ELEMENTARY SCHOOL DISTRICT;                   )
20   MIDWAY ELEMENTARY SCHOOL                      )
21
     DISTRICT; MOJAVE UNIFIED                      )
     SCHOOL DISTRICT; MUROC JOINT                  )
22   UNIFIED SCHOOL DISTRICT;                      )
23   NORRIS ELEMENTARY SCHOOL                      )
     DISTRICT; PANAMA-BUENA VISTA                  )
24
     UNION SCHOOL DISTRICT; POND                   )
25   UNION ELEMENTARY SCHOOL                       )
     DISTRICT; RAND JOINT                          )
26
     ELEMENTARY SCHOOL DISTRICT;                   )
27   RICHLAND UNION ELEMENTARY                     )
28                                            10
                  MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1    SCHOOL DISTRICT; RIO BRAVO-                   )
2    GREELEY UNION ELEMENTARY                      )
     SCHOOL DISTRICT; ROSEDALE                     )
3
     UNION ELEMENTARY SCHOOL                       )
4    DISTRICT; SEMITROPIC                          )
     ELEMENTARY SCHOOL DISTRICT;                   )
5
     SIERRA SANDS UNIFIED SCHOOL                   )
6    DISTRICT; SOUTH FORK UNION                    )
7
     SCHOOL DISTRICT; SOUTHERN                     )
     KERN UNIFIED SCHOOL DISTRICT;                 )
8    STANDARD ELEMENTARY                           )
9    SCHOOL DISTRICT; TAFT CITY                    )
     SCHOOL DISTRICT; TAFT UNION                   )
10
     HIGH SCHOOL DISTRICT;                         )
11   TEHACHAPI UNIFIED SCHOOL                      )
     DISTRICT; VINELAND                            )
12
     ELEMENTARY SCHOOL DISTRICT;                   )
13   WASCO UNION ELEMENTARY                        )
14
     SCHOOL DISTRICT; WASCO UNION                  )
     HIGH SCHOOL DISTRICT;                         )
15   ARMONA UNION ELEMENTARY                       )
16   SCHOOL DISTRICT; CENTRAL                      )
     UNION ELEMENTARY SCHOOL                       )
17
     DISTRICT; CORCORAN JOINT                      )
18   UNIFIED SCHOOL DISTRICT;                      )
     HANFORD ELEMENTARY SCHOOL                     )
19
     DISTRICT; HANFORD JOINT UNION                 )
20   HIGH SCHOOL DISTRICT; ISLAND                  )
21
     UNION ELEMENTARY SCHOOL                       )
     DISTRICT; KINGS RIVER-                        )
22   HARDWICK UNION ELEMENTARY                     )
23   SCHOOL DISTRICT; KIT CARSON                   )
     UNION ELEMENTARY SCHOOL                       )
24
     DISTRICT; LAKESIDE UNION                      )
25   ELEMENTARY SCHOOL DISTRICT;                   )
     LEMOORE UNION ELEMENTARY                      )
26
     SCHOOL DISTRICT; LEMOORE                      )
27   UNION HIGH SCHOOL DISTRICT;                   )
28                                            11
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1    PIONEER UNION ELEMENTARY                      )
2    SCHOOL DISTRICT; REEF-SUNSET                  )
     UNIFIED SCHOOL DISTRICT;                      )
3
     KELSEYVILLE UNIFIED SCHOOL                    )
4    DISTRICT; KONOCTI UNIFIED                     )
     SCHOOL DISTRICT; LAKEPORT                     )
5
     UNIFIED SCHOOL DISTRICT;                      )
6    LUCERNE ELEMENTARY SCHOOL                     )
7
     DISTRICT; MIDDLETOWN UNIFIED                  )
     SCHOOL DISTRICT; UPPER LAKE                   )
8    UNIFIED SCHOOL DISTRICT; BIG                  )
9    VALLEY JOINT UNIFIED SCHOOL                   )
     DISTRICT; FORT SAGE UNIFIED                   )
10
     SCHOOL DISTRICT; JANESVILLE                   )
11   UNION ELEMENTARY SCHOOL                       )
     DISTRICT; JOHNSTONVILLE                       )
12
     ELEMENTARY SCHOOL DISTRICT;                   )
13   LASSEN UNION HIGH SCHOOL                      )
14
     DISTRICT; RAVENDALE-TERMO                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
15   RICHMOND ELEMENTARY                           )
16   SCHOOL DISTRICT; SHAFFER                      )
     UNION ELEMENTARY SCHOOL                       )
17
     DISTRICT; SUSANVILLE                          )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     WESTWOOD UNIFIED SCHOOL                       )
19
     DISTRICT; ABC UNIFIED SCHOOL                  )
20   DISTRICT; ACTON-AGUA DULCE                    )
21
     UNIFIED SCHOOL DISTRICT;                      )
     ALHAMBRA UNIFIED SCHOOL                       )
22   DISTRICT; ANTELOPE VALLEY                     )
23   UNION HIGH SCHOOL DISTRICT;                   )
     ARCADIA UNIFIED SCHOOL                        )
24
     DISTRICT; AZUSA UNIFIED                       )
25   SCHOOL DISTRICT; BALDWIN                      )
     PARK UNIFIED SCHOOL DISTRICT;                 )
26
     BASSETT UNIFIED SCHOOL                        )
27   DISTRICT; BELLFLOWER UNIFIED                  )
28                                            12
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1    SCHOOL DISTRICT; BEVERLY                      )
2    HILLS UNIFIED SCHOOL                          )
     DISTRICT; BONITA UNIFIED                      )
3
     SCHOOL DISTRICT; BURBANK                      )
4    UNIFIED SCHOOL DISTRICT;                      )
     CASTAIC UNION SCHOOL                          )
5
     DISTRICT; CENTINELA VALLEY                    )
6    UNION HIGH SCHOOL DISTRICT;                   )
7
     CHARTER OAK UNIFIED SCHOOL                    )
     DISTRICT; CLAREMONT UNIFIED                   )
8    SCHOOL DISTRICT; COMPTON                      )
9    UNIFIED SCHOOL DISTRICT;                      )
     COVINA-VALLEY UNIFIED                         )
10
     SCHOOL DISTRICT; CULVER CITY                  )
11   UNIFIED SCHOOL DISTRICT;                      )
     DIAGNOSTIC CENTER, SOUTHERN                   )
12
     CALIFORNIA (STATE SPECIAL                     )
13   SCHOOL); DOWNEY UNIFIED                       )
14
     SCHOOL DISTRICT; DUARTE                       )
     UNIFIED SCHOOL DISTRICT; EAST                 )
15   WHITTIER CITY ELEMENTARY                      )
16   SCHOOL DISTRICT; EASTSIDE                     )
     UNION ELEMENTARY SCHOOL                       )
17
     DISTRICT; EL MONTE CITY                       )
18   SCHOOL DISTRICT; EL MONTE                     )
     UNION HIGH SCHOOL DISTRICT;                   )
19
     EL RANCHO UNIFIED SCHOOL                      )
20   DISTRICT; EL SEGUNDO UNIFIED                  )
21
     SCHOOL DISTRICT; GARVEY                       )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   GLENDALE UNIFIED SCHOOL                       )
23   DISTRICT; GLENDORA UNIFIED                    )
     SCHOOL DISTRICT; GORMAN                       )
24
     JOINT SCHOOL DISTRICT                         )
25   HACIENDA LA PUENTE UNIFIED                    )
     SCHOOL DISTRICT; HAWTHORNE                    )
26
     SCHOOL DISTRICT; HERMOSA                      )
27   BEACH CITY ELEMENTARY                         )
28                                            13
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1    SCHOOL DISTRICT; HUGHES-                      )
2    ELIZABETH LAKES UNION                         )
     ELEMENTARY SCHOOL DISTRICT;                   )
3
     INGLEWOOD UNIFIED SCHOOL                      )
4    DISTRICT; KEPPEL UNION                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
5
     LA CANADA UNIFIED SCHOOL                      )
6    DISTRICT; LANCASTER                           )
7
     ELEMENTARY SCHOOL DISTRICT;                   )
     LAS VIRGENES UNIFIED SCHOOL                   )
8    DISTRICT; LAWNDALE                            )
9    ELEMENTARY SCHOOL DISTRICT;                   )
     LENNOX SCHOOL DISTRICT;                       )
10
     LITTLE LAKE CITY ELEMENTARY                   )
11   SCHOOL DISTRICT; LONG BEACH                   )
     UNIFIED SCHOOL DISTRICT; LOS                  )
12
     ANGELES COUNTY OFFICE OF                      )
13   EDUCATION; LOS ANGELES                        )
14
     UNIFIED SCHOOL DISTRICT; LOS                  )
     NIETOS SCHOOL DISTRICT;                       )
15   LOWELL JOINT SCHOOL                           )
16   DISTRICT; LYNWOOD UNIFIED                     )
     SCHOOL DISTRICT; MANHATTAN                    )
17
     BEACH UNIFIED SCHOOL                          )
18   DISTRICT ; MONROVIA UNIFIED                   )
     SCHOOL DISTRICT; MONTEBELLO                   )
19
     UNIFIED SCHOOL DISTRICT;                      )
20   MOUNTAIN VIEW ELEMENTARY                      )
21
     SCHOOL DISTRICT; NEWHALL                      )
     SCHOOL DISTRICT; NORWALK-LA                   )
22   MIRADA UNIFIED SCHOOL                         )
23   DISTRICT; PALMDALE                            )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     PALOS VERDES PENINSULA                        )
25   UNIFIED SCHOOL DISTRICT;                      )
     PARAMOUNT UNIFIED SCHOOL                      )
26
     DISTRICT; PASADENA UNIFIED                    )
27   SCHOOL DISTRICT; POMONA                       )
28                                            14
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1    UNIFIED SCHOOL DISTRICT;                      )
2    REDONDO BEACH UNIFIED                         )
     SCHOOL DISTRICT; ROSEMEAD                     )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    ROWLAND UNIFIED SCHOOL                        )
     DISTRICT; SAN GABRIEL UNIFIED                 )
5
     SCHOOL DISTRICT; SAN MARINO                   )
6    UNIFIED SCHOOL DISTRICT;                      )
7
     SANTA MONICA-MALIBU UNIFIED                   )
     SCHOOL DISTRICT; SAUGUS                       )
8    UNION SCHOOL DISTRICT; SBE -                  )
9    ACADEMIA AVANCE CHARTER;                      )
     SBE - CELERITY HIMALIA; SBE -                 )
10
     LOS ANGELES COLLEGE PREP                      )
11   ACADEMY; SBE - NEW WEST                       )
     CHARTER; SBE - PREPA TEC LOS                  )
12
     ANGELES HIGH; SBE - THE                       )
13   SCHOOL OF ARTS AND                            )
14
     ENTERPRISE; SOUTH PASADENA                    )
     UNIFIED SCHOOL DISTRICT;                      )
15   SOUTH WHITTIER ELEMENTARY                     )
16   SCHOOL DISTRICT; SULPHUR                      )
     SPRINGS UNION SCHOOL                          )
17
     DISTRICT; TEMPLE CITY UNIFIED                 )
18   SCHOOL DISTRICT; TORRANCE                     )
     UNIFIED SCHOOL DISTRICT;                      )
19
     VALLE LINDO ELEMENTARY                        )
20   SCHOOL DISTRICT; WALNUT                       )
21
     VALLEY UNIFIED SCHOOL                         )
     DISTRICT; WEST COVINA UNIFIED                 )
22   SCHOOL DISTRICT; WESTSIDE                     )
23   UNION ELEMENTARY SCHOOL                       )
     DISTRICT; WHITTIER CITY                       )
24
     ELEMENTARY SCHOOL DISTRICT;                   )
25   WHITTIER UNION HIGH SCHOOL                    )
     DISTRICT; WILLIAM S. HART                     )
26
     UNION HIGH SCHOOL DISTRICT;                   )
27   WILSONA ELEMENTARY SCHOOL                     )
28                                            15
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1    DISTRICT; WISEBURN UNIFIED                    )
2    SCHOOL DISTRICT; ALVIEW-                      )
     DAIRYLAND UNION ELEMENTARY                    )
3
     SCHOOL DISTRICT; BASS LAKE                    )
4    JOINT UNION ELEMENTARY                        )
     SCHOOL DISTRICT;                              )
5
     CHAWANAKEE UNIFIED SCHOOL                     )
6    DISTRICT; CHOWCHILLA                          )
7
     ELEMENTARY SCHOOL DISTRICT;                   )
     CHOWCHILLA UNION HIGH                         )
8    SCHOOL DISTRICT; GOLDEN                       )
9    VALLEY UNIFIED SCHOOL                         )
     DISTRICT; MADERA UNIFIED                      )
10
     SCHOOL DISTRICT; RAYMOND-                     )
11   KNOWLES UNION ELEMENTARY                      )
     SCHOOL DISTRICT; YOSEMITE                     )
12
     UNIFIED SCHOOL DISTRICT;                      )
13   BOLINAS-STINSON UNION SCHOOL                  )
14
     DISTRICT; KENTFIELD                           )
     ELEMENTARY SCHOOL DISTRICT;                   )
15   LAGUNA JOINT ELEMENTARY                       )
16   SCHOOL DISTRICT; LAGUNITAS                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     LARKSPUR-CORTE MADERA                         )
18   SCHOOL DISTRICT; LINCOLN                      )
     ELEMENTARY SCHOOL DISTRICT;                   )
19
     MILL VALLEY ELEMENTARY                        )
20   SCHOOL DISTRICT; MILLER                       )
21
     CREEK ELEMENTARY SCHOOL                       )
     DISTRICT; NICASIO SCHOOL                      )
22   DISTRICT; NOVATO UNIFIED                      )
23   SCHOOL DISTRICT; REED UNION                   )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     ROSS ELEMENTARY SCHOOL                        )
25   DISTRICT; ROSS VALLEY                         )
     ELEMENTARY SCHOOL DISTRICT;                   )
26
     SAN RAFAEL CITY ELEMENTARY                    )
27   SCHOOL DISTRICT; SAN RAFAEL                   )
28                                            16
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1    CITY HIGH SCHOOL DISTRICT;                    )
2    SAUSALITO MARIN CITY SCHOOL                   )
     DISTRICT; SBE - ROSS VALLEY                   )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    SHORELINE UNIFIED SCHOOL                      )
     DISTRICT; TAMALPAIS UNION                     )
5
     HIGH SCHOOL DISTRICT;                         )
6    MARIPOSA COUNTY UNIFIED                       )
7
     SCHOOL DISTRICT; ANDERSON                     )
     VALLEY UNIFIED SCHOOL                         )
8    DISTRICT; ARENA UNION                         )
9    ELEMENTARY SCHOOL DISTRICT;                   )
     ARENA UNION                                   )
10
     ELEMENTARY/POINT ARENA                        )
11   JOINT UNION HIGH SCHOOL                       )
     DISTRICT; FORT BRAGG UNIFIED                  )
12
     SCHOOL DISTRICT; LAYTONVILLE                  )
13   UNIFIED SCHOOL DISTRICT;                      )
14
     LEGGETT VALLEY UNIFIED                        )
     SCHOOL DISTRICT; MANCHESTER                   )
15   UNION ELEMENTARY SCHOOL                       )
16   DISTRICT; MENDOCINO UNIFIED                   )
     SCHOOL DISTRICT; POINT ARENA                  )
17
     JOINT UNION HIGH SCHOOL                       )
18   DISTRICT; POTTERVALLEY                        )
     COMMUNITY UNIFIED SCHOOL                      )
19
     DISTRICT; ROUND VALLEY                        )
20   UNIFIED SCHOOL DISTRICT;                      )
21
     UKIAH UNIFIED SCHOOL                          )
     DISTRICT; WILLITS UNIFIED                     )
22   SCHOOL DISTRICT; ATWATER                      )
23   ELEMENTARY SCHOOL DISTRICT;                   )
     BALLICO-CRESSEY ELEMENTARY                    )
24
     SCHOOL DISTRICT SCHOOL                        )
25   DISTRICT; DELHI UNIFIED                       )
     SCHOOL DISTRICT; DOS PALOS                    )
26
     ORO LOMA JOINT UNIFIED                        )
27   SCHOOL DISTRICT; EL NIDO                      )
28                                            17
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1    ELEMENTARY SCHOOL DISTRICT;                   )
2    GUSTINE UNIFIED SCHOOL                        )
     DISTRICT; HILMAR UNIFIED                      )
3
     SCHOOL DISTRICT; LE GRAND                     )
4    UNION ELEMENTARY SCHOOL                       )
     DISTRICT; LE GRAND UNION HIGH                 )
5
     SCHOOL DISTRICT; LIVINGSTON                   )
6    UNION SCHOOL DISTRICT; LOS                    )
7
     BANOS UNIFIED SCHOOL                          )
     DISTRICT; MCSWAIN UNION                       )
8    ELEMENTARY SCHOOL DISTRICT;                   )
9    MERCED CITY ELEMENTARY                        )
     SCHOOL DISTRICT; MERCED                       )
10
     RIVER UNION ELEMENTARY                        )
11   SCHOOL DISTRICT; MERCED                       )
     UNION HIGH SCHOOL DISTRICT;                   )
12
     PLAINSBURG UNION                              )
13   ELEMENTARY SCHOOL DISTRICT;                   )
14
     PLANADA ELEMENTARY SCHOOL                     )
     DISTRICT; SNELLING-MERCED                     )
15   FALLS UNION ELEMENTARY                        )
16   SCHOOL DISTRICT; WEAVER                       )
     UNION SCHOOL DISTRICT;                        )
17
     WINTON SCHOOL DISTRICT;                       )
18   MODOC JOINT UNIFIED SCHOOL                    )
     DISTRICT; SURPRISE VALLEY                     )
19
     JOINT UNIFIED SCHOOL                          )
20   DISTRICT; TULELAKE BASIN                      )
21
     JOINT UNIFIED SCHOOL                          )
     DISTRICT; EASTERN SIERRA                      )
22   UNIFIED SCHOOL DISTRICT;                      )
23   MAMMOTH UNIFIED SCHOOL                        )
     DISTRICT; ALISAL UNION SCHOOL                 )
24
     DISTRICT; BIG SUR UNIFIED                     )
25   SCHOOL DISTRICT; BRADLEY                      )
     UNION ELEMENTARY SCHOOL                       )
26
     DISTRICT; CARMEL UNIFIED                      )
27   SCHOOL DISTRICT; CHUALAR                      )
28                                            18
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1    UNION SCHOOL DISTRICT;                        )
2    GONZALES UNIFIED SCHOOL                       )
     DISTRICT; GRAVES ELEMENTARY                   )
3
     SCHOOL DISTRICT; GREENFIELD                   )
4    UNION ELEMENTARY SCHOOL                       )
     DISTRICT; KING CITY UNION                     )
5
     SCHOOL DISTRICT; LAGUNITA                     )
6    ELEMENTARY SCHOOL DISTRICT;                   )
7
     MISSION UNION ELEMENTARY                      )
     SCHOOL DISTRICT; MONTEREY                     )
8    PENINSULA UNIFIED SCHOOL                      )
9    DISTRICT; NORTH MONTEREY                      )
     COUNTY UNIFIED SCHOOL                         )
10
     DISTRICT; PACIFIC GROVE                       )
11   UNIFIED SCHOOL DISTRICT;                      )
     SALINAS CITY ELEMENTARY                       )
12
     SCHOOL DISTRICT; SALINAS                      )
13   UNION HIGH SCHOOL DISTRICT;                   )
14
     SAN ANTONIO UNION                             )
     ELEMENTARY SCHOOL DISTRICT;                   )
15   SAN ARDO UNION ELEMENTARY                     )
16   SCHOOL DISTRICT; SAN LUCAS                    )
     UNION ELEMENTARY SCHOOL                       )
17
     DISTRICT; SANTA RITA UNION                    )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     SOLEDAD UNIFIED SCHOOL                        )
19
     DISTRICT; SOUTH MONTEREY                      )
20   COUNTY JOINT UNION HIGH                       )
21
     SCHOOL DISTRICT; SPRECKELS                    )
     UNION ELEMENTARY SCHOOL                       )
22   DISTRICT; WASHINGTON UNION                    )
23   ELEMENTARY SCHOOL DISTRICT;                   )
     CALISTOGA JOINT UNIFIED                       )
24
     SCHOOL DISTRICT; HOWELL                       )
25   MOUNTAIN ELEMENTARY                           )
     SCHOOL DISTRICT; NAPA VALLEY                  )
26
     UNIFIED SCHOOL DISTRICT; POPE                 )
27   VALLEY UNION ELEMENTARY                       )
28                                            19
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1    SCHOOL DISTRICT; SAINT                        )
2    HELENA UNIFIED SCHOOL                         )
     DISTRICT; CHICAGO PARK                        )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    CLEAR CREEK ELEMENTARY                        )
     SCHOOL DISTRICT; GRASS                        )
5
     VALLEY ELEMENTARY SCHOOL                      )
6    DISTRICT; NEVADA CITY                         )
7
     ELEMENTARY SCHOOL DISTRICT;                   )
     ;NEVADA JOINT UNION HIGH                      )
8    SCHOOL DISTRICT; PENN VALLEY                  )
9    UNION ELEMENTARY SCHOOL                       )
     DISTRICT; PLEASANT RIDGE                      )
10
     UNION ELEMENTARY SCHOOL                       )
11   DISTRICT; TWIN RIDGES                         )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     UNION HILL ELEMENTARY                         )
13   SCHOOL DISTRICT; ANAHEIM                      )
14
     ELEMENTARY SCHOOL DISTRICT;                   )
     ANAHEIM UNION HIGH SCHOOL                     )
15   DISTRICT; BREA-OLINDA UNIFIED                 )
16   SCHOOL DISTRICT; BUENA PARK                   )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     CAPISTRANO UNIFIED SCHOOL                     )
18   DISTRICT; CENTRAL ORANGE                      )
     COUNTY CTE PARTNERSHIP;                       )
19
     CENTRALIA ELEMENTARY                          )
20   SCHOOL DISTRICT; COLLEGE AND                  )
21
     CAREER ADVANTAGE; CYPRESS                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   FOUNTAIN VALLEY ELEMENTARY                    )
23   SCHOOL DISTRICT; FULLERTON                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     FULLERTON JOINT UNION HIGH                    )
25   SCHOOL DISTRICT; GARDEN                       )
     GROVE UNIFIED SCHOOL                          )
26
     DISTRICT; HUNTINGTON BEACH                    )
27   CITY ELEMENTARY SCHOOL                        )
28                                            20
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1    DISTRICT; HUNTINGTON BEACH                    )
2    UNION HIGH SCHOOL DISTRICT;                   )
     IRVINE UNIFIED SCHOOL                         )
3
     DISTRICT; LA HABRA CITY                       )
4    ELEMENTARY SCHOOL DISTRICT;                   )
     LAGUNA BEACH UNIFIED SCHOOL                   )
5
     DISTRICT; LOS ALAMITOS                        )
6    UNIFIED SCHOOL DISTRICT;                      )
7
     MAGNOLIA ELEMENTARY                           )
     SCHOOL DISTRICT; NEWPORT-                     )
8    MESA UNIFIED SCHOOL DISTRICT;                 )
9    OCEAN VIEW SCHOOL DISTRICT;                   )
     ORANGE UNIFIED SCHOOL                         )
10
     DISTRICT; PLACENTIA-YORBA                     )
11   LINDA UNIFIED SCHOOL                          )
     DISTRICT; SADDLEBACK VALLEY                   )
12
     UNIFIED SCHOOL DISTRICT;                      )
13   SANTA ANA UNIFIED SCHOOL                      )
14
     DISTRICT; SAVANNA                             )
     ELEMENTARY SCHOOL DISTRICT;                   )
15   SBE - MAGNOLIA SCIENCE                        )
16   ACADEMY SANTA ANA; TUSTIN                     )
     UNIFIED SCHOOL DISTRICT;                      )
17
     WESTMINSTER SCHOOL                            )
18   DISTRICT; OUT-OF-STATE, NON-                  )
     PUBLIC, NON-SECTARIAN                         )
19
     SCHOOLS; ACKERMAN CHARTER                     )
20   SCHOOL DISTRICT; ALTA-DUTCH                   )
21
     FLAT UNION ELEMENTARY                         )
     SCHOOL DISTRICT; AUBURN                       )
22   UNION ELEMENTARY SCHOOL                       )
23   DISTRICT; COLFAX ELEMENTARY                   )
     SCHOOL DISTRICT; DRY CREEK                    )
24
     JOINT ELEMENTARY SCHOOL                       )
25   DISTRICT; EUREKA UNION                        )
     SCHOOL DISTRICT; FORESTHILL                   )
26
     UNION ELEMENTARY SCHOOL                       )
27   DISTRICT; LOOMIS UNION                        )
28                                            21
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1    ELEMENTARY SCHOOL DISTRICT;                   )
2    NEWCASTLE ELEMENTARY                          )
     SCHOOL DISTRICT; PLACER HILLS                 )
3
     UNION ELEMENTARY SCHOOL                       )
4    DISTRICT; PLACER UNION HIGH                   )
     SCHOOL DISTRICT; ROCKLIN                      )
5
     UNIFIED SCHOOL DISTRICT;                      )
6    ROSEVILLE CITY ELEMENTARY                     )
7
     SCHOOL DISTRICT; ROSEVILLE                    )
     JOINT UNION HIGH SCHOOL                       )
8    DISTRICT; TAHOE-TRUCKEE                       )
9    UNIFIED SCHOOL DISTRICT;                      )
     WESTERN PLACER UNIFIED                        )
10
     SCHOOL DISTRICT; PLUMAS                       )
11   UNIFIED SCHOOL DISTRICT;                      )
     ALVORD UNIFIED SCHOOL                         )
12
     DISTRICT; BANNING UNIFIED                     )
13   SCHOOL DISTRICT; BEAUMONT                     )
14
     UNIFIED SCHOOL DISTRICT;                      )
     CALIFORNIA SCHOOL FOR THE                     )
15   DEAF-RIVERSIDE (STATE SPECIAL                 )
16   SCHOOL); COACHELLA VALLEY                     )
     UNIFIED SCHOOL DISTRICT;                      )
17
     CORONA-NORCO UNIFIED                          )
18   SCHOOL DISTRICT; DESERT                       )
     CENTER UNIFIED SCHOOL                         )
19
     DISTRICT; DESERT SANDS                        )
20   UNIFIED SCHOOL DISTRICT;                      )
21
     HEMET UNIFIED SCHOOL                          )
     DISTRICT; JURUPA UNIFIED                      )
22   SCHOOL DISTRICT; LAKE                         )
23   ELSINORE UNIFIED SCHOOL                       )
     DISTRICT; MENIFEE UNION                       )
24
     ELEMENTARY SCHOOL DISTRICT;                   )
25   MORENO VALLEY UNIFIED                         )
     SCHOOL DISTRICT; MURRIETA                     )
26
     VALLEY UNIFIED SCHOOL                         )
27   DISTRICT; NUVIEW UNION                        )
28                                            22
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1    SCHOOL DISTRICT; PALM                         )
2    SPRINGS UNIFIED SCHOOL                        )
     DISTRICT; PALO VERDE UNIFIED                  )
3
     SCHOOL DISTRICT; PERRIS                       )
4    ELEMENTARY SCHOOL DISTRICT;                   )
     PERRIS UNION HIGH SCHOOL                      )
5
     DISTRICT; RIVERSIDE UNIFIED                   )
6    SCHOOL DISTRICT; ROMOLAND                     )
7
     ELEMENTARY SCHOOL DISTRICT;                   )
     SAN JACINTO UNIFIED SCHOOL                    )
8    DISTRICT; TEMECULA VALLEY                     )
9    UNIFIED SCHOOL DISTRICT; VAL                  )
     VERDE UNIFIED SCHOOL                          )
10
     DISTRICT; ARCOHE UNION                        )
11   ELEMENTARY SCHOOL DISTRICT;                   )
     CENTER JOINT UNIFIED SCHOOL                   )
12
     DISTRICT; ELK GROVE UNIFIED                   )
13   SCHOOL DISTRICT; ELVERTA                      )
14
     JOINT ELEMENTARY SCHOOL                       )
     DISTRICT; FOLSOM-CORDOVA                      )
15   UNIFIED SCHOOL DISTRICT; GALT                 )
16   JOINT UNION ELEMENTARY                        )
     SCHOOL DISTRICT; GALT JOINT                   )
17
     UNION HIGH SCHOOL DISTRICT;                   )
18   NATOMAS UNIFIED SCHOOL                        )
     DISTRICT; RIVER DELTA JOINT                   )
19
     UNIFIED SCHOOL DISTRICT;                      )
20   ROBLA ELEMENTARY SCHOOL                       )
21
     DISTRICT; SACRAMENTO CITY                     )
     UNIFIED SCHOOL DISTRICT; SAN                  )
22   JUAN UNIFIED SCHOOL DISTRICT;                 )
23   TWIN RIVERS UNIFIED SCHOOL                    )
     DISTRICT; AROMAS - SAN JUAN                   )
24
     UNIFIED SCHOOL DISTRICT;                      )
25   BITTERWATER-TULLY                             )
     ELEMENTARY SCHOOL DISTRICT;                   )
26
     CIENEGA UNION ELEMENTARY                      )
27   SCHOOL DISTRICT; HOLLISTER                    )
28                                            23
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1    SCHOOL DISTRICT; JEFFERSON                    )
2    ELEMENTARY SCHOOL DISTRICT;                   )
     NORTH COUNTY JOINT UNION                      )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    PANOCHE ELEMENTARY SCHOOL                     )
     DISTRICT; SAN BENITO HIGH                     )
5
     SCHOOL DISTRICT; SOUTHSIDE                    )
6    ELEMENTARY SCHOOL DISTRICT;                   )
7
     TRES PINOS UNION ELEMENTARY                   )
     SCHOOL DISTRICT; WILLOW                       )
8    GROVE UNION ELEMENTARY                        )
9    SCHOOL DISTRICT; ADELANTO                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     ALTA LOMA ELEMENTARY                          )
11   SCHOOL DISTRICT; APPLE                        )
     VALLEY UNIFIED SCHOOL                         )
12
     DISTRICT; BAKER VALLEY                        )
13   UNIFIED SCHOOL DISTRICT;                      )
14
     BARSTOW UNIFIED SCHOOL                        )
     DISTRICT; BEAR VALLEY UNIFIED                 )
15   SCHOOL DISTRICT; CENTRAL                      )
16   ELEMENTARY SCHOOL DISTRICT;                   )
     CHAFFEY JOINT UNION HIGH                      )
17
     SCHOOL DISTRICT; CHINO                        )
18   VALLEY UNIFIED SCHOOL                         )
     DISTRICT; COLTON JOINT                        )
19
     UNIFIED SCHOOL DISTRICT;                      )
20   CUCAMONGA ELEMENTARY                          )
21
     SCHOOL DISTRICT; ETIWANDA                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   FONTANA UNIFIED SCHOOL                        )
23   DISTRICT; HELENDALE                           )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     HESPERIA UNIFIED SCHOOL                       )
25   DISTRICT; LUCERNE VALLEY                      )
     UNIFIED SCHOOL DISTRICT;                      )
26
     MORONGO UNIFIED SCHOOL                        )
27   DISTRICT; MOUNTAIN VIEW                       )
28                                            24
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1    ELEMENTARY SCHOOL DISTRICT;                   )
2    MT. BALDY JOINT ELEMENTARY                    )
     SCHOOL DISTRICT; NEEDLES                      )
3
     UNIFIED SCHOOL DISTRICT;                      )
4    ONTARIO-MONTCLAIR SCHOOL                      )
     DISTRICT; ORO GRANDE SCHOOL                   )
5
     DISTRICT; REDLANDS UNIFIED                    )
6    SCHOOL DISTRICT; RIALTO                       )
7
     UNIFIED SCHOOL DISTRICT; RIM                  )
     OF THE WORLD UNIFIED SCHOOL                   )
8    DISTRICT; SAN BERNARDINO CITY                 )
9    UNIFIED SCHOOL DISTRICT;                      )
     SILVER VALLEY UNIFIED SCHOOL                  )
10
     DISTRICT; SNOWLINE JOINT                      )
11   UNIFIED SCHOOL DISTRICT;                      )
     TRONA JOINT UNIFIED SCHOOL                    )
12
     DISTRICT; UPLAND UNIFIED                      )
13   SCHOOL DISTRICT; VICTOR                       )
14
     ELEMENTARY SCHOOL DISTRICT;                   )
     VICTOR VALLEY UNION HIGH                      )
15   SCHOOL DISTRICT; YUCAIPA                      )
16   CALIMESA JOINT UNIFIED                        )
     SCHOOL DISTRICT; ALPINE UNION                 )
17
     ELEMENTARY SCHOOL DISTRICT;                   )
18   BONSALL UNIFIED SCHOOL                        )
     DISTRICT; BORREGO SPRINGS                     )
19
     UNIFIED SCHOOL DISTRICT;                      )
20   CAJON VALLEY UNION SCHOOL                     )
21
     DISTRICT; CARDIFF ELEMENTARY                  )
     SCHOOL DISTRICT; CARLSBAD                     )
22   UNIFIED SCHOOL DISTRICT;                      )
23   CHULA VISTA ELEMENTARY                        )
     SCHOOL DISTRICT; CORONADO                     )
24
     UNIFIED SCHOOL DISTRICT;                      )
25   DEHESA ELEMENTARY SCHOOL                      )
     DISTRICT; DEL MAR UNION                       )
26
     ELEMENTARY SCHOOL DISTRICT;                   )
27   ENCINITAS UNION ELEMENTARY                    )
28                                            25
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1    SCHOOL DISTRICT; ESCONDIDO                    )
2    UNION SCHOOL DISTRICT;                        )
     ESCONDIDO UNION HIGH SCHOOL                   )
3
     DISTRICT; FALLBROOK UNION                     )
4    ELEMENTARY SCHOOL DISTRICT;                   )
     FALLBROOK UNION HIGH                          )
5
     SCHOOL DISTRICT; GROSSMONT                    )
6    UNION HIGH SCHOOL DISTRICT;                   )
7
     JAMUL-DULZURA UNION                           )
     ELEMENTARY SCHOOL DISTRICT;                   )
8    JULIAN UNION ELEMENTARY                       )
9    SCHOOL DISTRICT; JULIAN UNION                 )
     HIGH SCHOOL DISTRICT; LA                      )
10
     MESA-SPRING VALLEY SCHOOL                     )
11   DISTRICT; LAKESIDE UNION                      )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     LEMON GROVE SCHOOL                            )
13   DISTRICT; MOUNTAIN EMPIRE                     )
14
     UNIFIED SCHOOL DISTRICT;                      )
     NATIONAL ELEMENTARY SCHOOL                    )
15   DISTRICT; OCEANSIDE UNIFIED                   )
16   SCHOOL DISTRICT; POWAY                        )
     UNIFIED SCHOOL DISTRICT;                      )
17
     RAMONA CITY UNIFIED SCHOOL                    )
18   DISTRICT; RANCHO SANTA FE                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
19
     SAN DIEGO UNIFIED SCHOOL                      )
20   DISTRICT; SAN DIEGUITO UNION                  )
21
     HIGH SCHOOL DISTRICT; SAN                     )
     MARCOS UNIFIED SCHOOL                         )
22   DISTRICT; SAN PASQUAL UNION                   )
23   ELEMENTARY SCHOOL DISTRICT;                   )
     SAN YSIDRO ELEMENTARY                         )
24
     SCHOOL DISTRICT; SANTEE                       )
25   SCHOOL DISTRICT; SBC - HIGH                   )
     TECH HIGH SCHOOL DISTRICT;                    )
26
     SBE - AUDEO CHARTER II SCHOOL                 )
27   DISTRICT; SBE - BAYPOINT                      )
28                                            26
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1    PREPARATORY ACADEMY SAN                       )
2    DIEGO; SBE - COLLEGE                          )
     PREPARATORY MIDDLE; SBE -                     )
3
     GROSSMONT SECONDARY; SBE -                    )
4    SWEETWATER SECONDARY; SBE -                   )
     VISTA SPRINGS CHARTER;                        )
5
     SOLANA BEACH ELEMENTARY                       )
6    SCHOOL DISTRICT; SOUTH BAY                    )
7
     UNION SCHOOL DISTRICT;                        )
     SPENCER VALLEY ELEMENTARY                     )
8    SCHOOL DISTRICT; SWEETWATER                   )
9    UNION HIGH SCHOOL DISTRICT;                   )
     VALLECITOS ELEMENTARY                         )
10
     SCHOOL DISTRICT; VALLEY                       )
11   CENTER-PAUMA UNIFIED SCHOOL                   )
     DISTRICT; VISTA UNIFIED                       )
12
     SCHOOL DISTRICT; WARNER                       )
13   UNIFIED SCHOOL DISTRICT; SAN                  )
14
     FRANCISCO UNIFIED SCHOOL                      )
     DISTRICT; ;SBE - KIPP BAYVIEW                 )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   SBE - THE NEW SCHOOL OF SAN                   )
     FRANCISCO SCHOOL DISTRICT;                    )
17
     BANTA ELEMENTARY SCHOOL                       )
18   DISTRICT; ESCALON UNIFIED                     )
     SCHOOL DISTRICT; JEFFERSON                    )
19
     ELEMENTARY SCHOOL DISTRICT;                   )
20   LAMMERSVILLE JOINT UNIFIED                    )
21
     SCHOOL DISTRICT; LINCOLN                      )
     UNIFIED SCHOOL DISTRICT;                      )
22   LINDEN UNIFIED SCHOOL                         )
23   DISTRICT; LODI UNIFIED SCHOOL                 )
     DISTRICT; MANTECA UNIFIED                     )
24
     SCHOOL DISTRICT; NEW HOPE                     )
25   ELEMENTARY SCHOOL DISTRICT;                   )
     NEW JERUSALEM ELEMENTARY                      )
26
     SCHOOL DISTRICT; OAK VIEW                     )
27   UNION ELEMENTARY SCHOOL                       )
28                                            27
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1    DISTRICT; RIPON UNIFIED                       )
2    SCHOOL DISTRICT; STOCKTON                     )
     UNIFIED SCHOOL DISTRICT;                      )
3
     TRACY JOINT UNIFIED SCHOOL                    )
4    DISTRICT; ATASCADERO UNIFIED                  )
     SCHOOL DISTRICT; CAYUCOS                      )
5
     ELEMENTARY SCHOOL DISTRICT;                   )
6    COAST UNIFIED SCHOOL                          )
7
     DISTRICT; LUCIA MAR UNIFIED                   )
     SCHOOL DISTRICT; PASO ROBLES                  )
8    JOINT UNIFIED SCHOOL                          )
9    DISTRICT; PLEASANT VALLEY                     )
     JOINT UNION ELEMENTARY                        )
10
     SCHOOL DISTRICT; SAN LUIS                     )
11   COASTAL UNIFIED SCHOOL                        )
     DISTRICT; SAN MIGUEL JOINT                    )
12
     UNION SCHOOL DISTRICT;                        )
13   SHANDON JOINT UNIFIED SCHOOL                  )
14
     DISTRICT; TEMPLETON UNIFIED                   )
     SCHOOL DISTRICT; BAYSHORE                     )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   BELMONT-REDWOOD SHORES                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     BRISBANE ELEMENTARY SCHOOL                    )
18   DISTRICT; BURLINGAME                          )
     ELEMENTARY SCHOOL DISTRICT;                   )
19
     CABRILLO UNIFIED SCHOOL                       )
20   DISTRICT; HILLSBOROUGH CITY                   )
21
     ELEMENTARY SCHOOL DISTRICT;                   )
     JEFFERSON ELEMENTARY                          )
22   SCHOOL DISTRICT; JEFFERSON                    )
23   UNION HIGH SCHOOL DISTRICT;                   )
     LA HONDA-PESCADERO UNIFIED                    )
24
     SCHOOL DISTRICT; LAS LOMITAS                  )
25   ELEMENTARY SCHOOL DISTRICT;                   )
     MENLO PARK CITY ELEMENTARY                    )
26
     SCHOOL DISTRICT; MILLBRAE                     )
27   ELEMENTARY SCHOOL DISTRICT;                   )
28                                            28
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1    PACIFICA SCHOOL DISTRICT;                     )
2    PORTOLA VALLEY ELEMENTARY                     )
     SCHOOL DISTRICT; RAVENSWOOD                   )
3
     CITY ELEMENTARY SCHOOL                        )
4    DISTRICT; REDWOOD CITY                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
5
     SAN BRUNO PARK ELEMENTARY                     )
6    SCHOOL DISTRICT; SAN CARLOS                   )
7
     ELEMENTARY SCHOOL DISTRICT;                   )
     SAN MATEO UNION HIGH SCHOOL                   )
8    DISTRICT; SAN MATEO-FOSTER                    )
9    CITY SCHOOL DISTRICT; SEQUOIA                 )
     UNION HIGH SCHOOL DISTRICT;                   )
10
     SOUTH SAN FRANCISCO UNIFIED                   )
11   SCHOOL DISTRICT; WOODSIDE                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     BALLARD ELEMENTARY SCHOOL                     )
13   DISTRICT; BLOCHMAN UNION                      )
14
     ELEMENTARY SCHOOL DISTRICT;                   )
     BUELLTON UNION ELEMENTARY                     )
15   SCHOOL DISTRICT; CARPINTERIA                  )
16   UNIFIED SCHOOL DISTRICT; COLD                 )
     SPRING ELEMENTARY SCHOOL                      )
17
     DISTRICT; COLLEGE                             )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     CUYAMA JOINT UNIFIED SCHOOL                   )
19
     DISTRICT; GOLETA UNION                        )
20   ELEMENTARY SCHOOL DISTRICT;                   )
21
     GUADALUPE UNION ELEMENTARY                    )
     SCHOOL DISTRICT; HOPE                         )
22   ELEMENTARY SCHOOL DISTRICT;                   )
23   LOMPOC UNIFIED SCHOOL                         )
     DISTRICT; LOS OLIVOS                          )
24
     ELEMENTARY SCHOOL DISTRICT;                   )
25   MONTECITO UNION ELEMENTARY                    )
     SCHOOL DISTRICT; ORCUTT                       )
26
     UNION ELEMENTARY SCHOOL                       )
27   DISTRICT; SANTA BARBARA                       )
28                                            29
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1    UNIFIED SCHOOL DISTRICT;                      )
2    SANTA MARIA JOINT UNION HIGH                  )
     SCHOOL DISTRICT; SANTA                        )
3
     MARIA-BONITA SCHOOL                           )
4    DISTRICT; SANTA YNEZ VALLEY                   )
     UNION HIGH SCHOOL DISTRICT;                   )
5
     SBE - OLIVE GROVE CHARTER –                   )
6    BUELLTON; SBE - OLIVE GROVE                   )
7
     CHARTER – LOMPOC; SBE - OLIVE                 )
     GROVE CHARTER -                               )
8    ORCUTT/SANTA MARIA; SBE -                     )
9    OLIVE GROVE CHARTER - SANTA                   )
     BARBARA; SOLVANG                              )
10
     ELEMENTARY SCHOOL DISTRICT;                   )
11   VISTA DEL MAR UNION SCHOOL                    )
     DISTRICT; ALUM ROCK UNION                     )
12
     ELEMENTARY SCHOOL DISTRICT;                   )
13   BERRYESSA UNION ELEMENTARY                    )
14
     SCHOOL DISTRICT; CAMBRIAN                     )
     SCHOOL DISTRICT; CAMPBELL                     )
15   UNION SCHOOL DISTRICT;                        )
16   CAMPBELL UNION HIGH SCHOOL                    )
     DISTRICT; CUPERTINO UNION                     )
17
     SCHOOL DISTRICT; EAST SIDE                    )
18   UNION HIGH SCHOOL DISTRICT;                   )
     EVERGREEN ELEMENTARY                          )
19
     SCHOOL DISTRICT; FRANKLIN-                    )
20   MCKINLEY ELEMENTARY                           )
21
     SCHOOL DISTRICT; FREMONT                      )
     UNION HIGH SCHOOL DISTRICT;                   )
22   GILROY UNIFIED SCHOOL                         )
23   DISTRICT; LAKESIDE JOINT                      )
     SCHOOL DISTRICT; LOMA PRIETA                  )
24
     JOINT UNION ELEMENTARY                        )
25   SCHOOL DISTRICT; LOS ALTOS                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
26
     LOS GATOS UNION ELEMENTARY                    )
27   SCHOOL DISTRICT; LOS GATOS-                   )
28                                            30
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1    SARATOGA UNION HIGH SCHOOL                    )
2    DISTRICT; LUTHER BURBANK                      )
     SCHOOL DISTRICT; METRO                        )
3
     EDUCATION SCHOOL DISTRICT;                    )
4    METROPOLITAN EDUCATION                        )
     SCHOOL DISTRICT; MILPITAS                     )
5
     UNIFIED SCHOOL DISTRICT;                      )
6    MORELAND SCHOOL DISTRICT;                     )
7
     MORGAN HILL UNIFIED SCHOOL                    )
     DISTRICT; MOUNT PLEASANT                      )
8    ELEMENTARY SCHOOL DISTRICT;                   )
9    MOUNTAIN VIEW WHISMAN                         )
     SCHOOL DISTRICT; MOUNTAIN                     )
10
     VIEW-LOS ALTOS UNION HIGH                     )
11   SCHOOL DISTRICT; OAK GROVE                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     ORCHARD ELEMENTARY SCHOOL                     )
13   DISTRICT; PALO ALTO UNIFIED                   )
14
     SCHOOL DISTRICT; SAN JOSE                     )
     UNIFIED SCHOOL DISTRICT;                      )
15   SANTA CLARA UNIFIED SCHOOL                    )
16   DISTRICT; SARATOGA UNION                      )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     SBE - KIPP NAVIGATE COLLEGE                   )
18   PREP; SBE - PERSEVERANCE                      )
     PREPARATORY; SUNNYVALE                        )
19
     SCHOOL DISTRICT; UNION                        )
20   ELEMENTARY SCHOOL DISTRICT;                   )
21
     BONNY DOON UNION                              )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   HAPPY VALLEY ELEMENTARY                       )
23   SCHOOL DISTRICT; LIVE OAK                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     MOUNTAIN ELEMENTARY                           )
25   SCHOOL DISTRICT; NORTH SANTA                  )
     CRUZ COUNTY SELPA SCHOOL                      )
26
     DISTRICT; PACIFIC ELEMENTARY                  )
27   SCHOOL DISTRICT; PAJARO                       )
28                                            31
                  MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1    VALLEY UNIFIED SCHOOL                         )
2    DISTRICT; SAN LORENZO VALLEY                  )
     UNIFIED SCHOOL DISTRICT;                      )
3
     SANTA CRUZ CITY ELEMENTARY                    )
4    SCHOOL DISTRICT; SANTA CRUZ                   )
     CITY ELEMENTARY/HIGH                          )
5
     SCHOOL DISTRICT; SANTA CRUZ                   )
6    CITY HIGH SCHOOL DISTRICT;                    )
7
     SBE - WATSONVILLE PREP                        )
     SCHOOL DISTRICT; SCOTTS                       )
8    VALLEY UNIFIED SCHOOL                         )
9    DISTRICT; SOQUEL UNION                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     ANDERSON UNION HIGH SCHOOL                    )
11   DISTRICT; BELLA VISTA                         )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     BLACK BUTTE UNION                             )
13   ELEMENTARY SCHOOL DISTRICT;                   )
14
     CASCADE UNION ELEMENTARY                      )
     SCHOOL DISTRICT; CASTLE ROCK                  )
15   UNION ELEMENTARY SCHOOL                       )
16   DISTRICT; COLUMBIA                            )
     ELEMENTARY SCHOOL DISTRICT;                   )
17
     COTTONWOOD UNION                              )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     ENTERPRISE ELEMENTARY                         )
19
     SCHOOL DISTRICT; FALL RIVER                   )
20   JOINT UNIFIED SCHOOL                          )
21
     DISTRICT; FRENCH GULCH-                       )
     WHISKEYTOWN ELEMENTARY                        )
22   SCHOOL DISTRICT; GATEWAY                      )
23   UNIFIED SCHOOL DISTRICT;                      )
     GRANT ELEMENTARY SCHOOL                       )
24
     DISTRICT; HAPPY VALLEY UNION                  )
25   ELEMENTARY SCHOOL DISTRICT;                   )
     IGO, ONO, PLATINA UNION                       )
26
     ELEMENTARY SCHOOL DISTRICT;                   )
27   INDIAN SPRINGS ELEMENTARY                     )
28                                            32
                  MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1    SCHOOL DISTRICT; JUNCTION                     )
2    ELEMENTARY SCHOOL DISTRICT;                   )
     MILLVILLE ELEMENTARY                          )
3
     SCHOOL DISTRICT; MOUNTAIN                     )
4    UNION ELEMENTARY SCHOOL                       )
     DISTRICT; MOUNTAIN VALLEY                     )
5
     SPECIAL EDUCATION JPA; NORTH                  )
6    COW CREEK ELEMENTARY                          )
7
     SCHOOL DISTRICT; OAK RUN                      )
     ELEMENTARY SCHOOL DISTRICT;                   )
8    PACHECO UNION ELEMENTARY                      )
9    SCHOOL DISTRICT; REDDING                      )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     SHASTA UNION ELEMENTARY                       )
11   SCHOOL DISTRICT; SHASTA                       )
     UNION HIGH SCHOOL DISTRICT;                   )
12
     WHITMORE UNION ELEMENTARY                     )
13   SCHOOL DISTRICT; SIERRA-                      )
14
     PLUMAS JOINT UNIFIED SCHOOL                   )
     DISTRICT; WILLIAM (R) ROUSE                   )
15   ROP SCHOOL DISTRICT; BIG                      )
16   SPRINGS UNION ELEMENTARY                      )
     SCHOOL DISTRICT; BOGUS                        )
17
     ELEMENTARY SCHOOL DISTRICT;                   )
18   BUTTE VALLEY UNIFIED SCHOOL                   )
     DISTRICT; BUTTEVILLE UNION                    )
19
     ELEMENTARY SCHOOL DISTRICT;                   )
20   DELPHIC ELEMENTARY SCHOOL                     )
21
     DISTRICT; DUNSMUIR                            )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   DUNSMUIR JOINT UNION HIGH                     )
23   SCHOOL DISTRICT; FORKS OF                     )
     SALMON ELEMENTARY SCHOOL                      )
24
     DISTRICT; GAZELLE UNION                       )
25   ELEMENTARY SCHOOL DISTRICT;                   )
     GRENADA ELEMENTARY SCHOOL                     )
26
     DISTRICT; HAPPY CAMP UNION                    )
27   ELEMENTARY SCHOOL DISTRICT;                   )
28                                            33
                  MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1    HORNBROOK ELEMENTARY                          )
2    SCHOOL DISTRICT; JUNCTION                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
3
     KLAMATH RIVER UNION                           )
4    ELEMENTARY SCHOOL DISTRICT;                   )
     LITTLE SHASTA ELEMENTARY                      )
5
     SCHOOL DISTRICT; MCCLOUD                      )
6    UNION ELEMENTARY SCHOOL                       )
7
     DISTRICT; MONTAGUE                            )
     ELEMENTARY SCHOOL DISTRICT;                   )
8    MT. SHASTA UNION ELEMENTARY                   )
9    SCHOOL DISTRICT; SCOTT                        )
     VALLEY UNIFIED SCHOOL                         )
10
     DISTRICT; SEIAD ELEMENTARY                    )
11   SCHOOL DISTRICT; SISKIYOU                     )
     UNION HIGH SCHOOL DISTRICT;                   )
12
     WEED UNION ELEMENTARY                         )
13   SCHOOL DISTRICT; WILLOW                       )
14
     CREEK ELEMENTARY SCHOOL                       )
     DISTRICT; YREKA UNION                         )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   YREKA UNION HIGH SCHOOL                       )
     DISTRICT; BENICIA UNIFIED                     )
17
     SCHOOL DISTRICT; DIXON                        )
18   UNIFIED SCHOOL DISTRICT;                      )
     FAIRFIELD-SUISUN UNIFIED                      )
19
     SCHOOL DISTRICT; TRAVIS                       )
20   UNIFIED SCHOOL DISTRICT;                      )
21
     VACAVILLE UNIFIED SCHOOL                      )
     DISTRICT; VALLEJO CITY UNIFIED                )
22   SCHOOL DISTRICT; ALEXANDER                    )
23   VALLEY UNION ELEMENTARY                       )
     SCHOOL DISTRICT; BELLEVUE                     )
24
     UNION SCHOOL DISTRICT;                        )
25   BENNETT VALLEY UNION                          )
     ELEMENTARY SCHOOL DISTRICT;                   )
26
     CINNABAR ELEMENTARY SCHOOL                    )
27   DISTRICT; CLOVERDALE UNIFIED                  )
28                                            34
                  MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1    SCHOOL DISTRICT; COTATI-                      )
2    ROHNERT PARK UNIFIED SCHOOL                   )
     DISTRICT; DUNHAM                              )
3
     ELEMENTARY SCHOOL DISTRICT;                   )
4    FORESTVILLE UNION                             )
     ELEMENTARY SCHOOL DISTRICT;                   )
5
     FORT ROSS ELEMENTARY                          )
6    SCHOOL DISTRICT; GEYSERVILLE                  )
7
     UNIFIED SCHOOL DISTRICT;                      )
     GRAVENSTEIN UNION                             )
8    ELEMENTARY SCHOOL DISTRICT;                   )
9    GUERNEVILLE ELEMENTARY                        )
     SCHOOL DISTRICT; HARMONY                      )
10
     UNION ELEMENTARY SCHOOL                       )
11   DISTRICT; HEALDSBURG UNIFIED                  )
     SCHOOL DISTRICT; HORICON                      )
12
     ELEMENTARY SCHOOL DISTRICT;                   )
13   KASHIA ELEMENTARY SCHOOL                      )
14
     DISTRICT; KENWOOD SCHOOL                      )
     DISTRICT; LIBERTY ELEMENTARY                  )
15   SCHOOL DISTRICT; MARK WEST                    )
16   UNION ELEMENTARY SCHOOL                       )
     DISTRICT; MONTE RIO UNION                     )
17
     ELEMENTARY SCHOOL DISTRICT;                   )
18   MONTGOMERY ELEMENTARY                         )
     SCHOOL DISTRICT; OAK GROVE                    )
19
     UNION ELEMENTARY SCHOOL                       )
20   DISTRICT; OLD ADOBE UNION                     )
21
     SCHOOL DISTRICT; PETALUMA                     )
     CITY ELEMENTARY SCHOOL                        )
22   DISTRICT; PETALUMA CITY                       )
23   ELEMENTARY/JOINT UNION HIGH                   )
     SCHOOL DISTRICT; PETALUMA                     )
24
     JOINT UNION HIGH SCHOOL                       )
25   DISTRICT; PINER-OLIVET UNION                  )
     ELEMENTARY SCHOOL DISTRICT;                   )
26
     RINCON VALLEY UNION                           )
27   ELEMENTARY SCHOOL DISTRICT;                   )
28                                            35
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1    ROSELAND SCHOOL DISTRICT;                     )
2    SANTA ROSA CITY SCHOOLS;                      )
     SANTA ROSA ELEMENTARY                         )
3
     SCHOOL DISTRICT; SANTA ROSA                   )
4    HIGH SCHOOL DISTRICT;                         )
     SEBASTOPOL UNION                              )
5
     ELEMENTARY SCHOOL DISTRICT;                   )
6    SONOMA VALLEY UNIFIED                         )
7
     SCHOOL DISTRICT; TWIN HILLS                   )
     UNION ELEMENTARY SCHOOL                       )
8    DISTRICT; TWO ROCK UNION                      )
9    SCHOOL DISTRICT; WAUGH                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     WEST SIDE UNION ELEMENTARY                    )
11   SCHOOL DISTRICT; WEST                         )
     SONOMA COUNTY UNION HIGH                      )
12
     SCHOOL DISTRICT; WILMAR                       )
13   UNION ELEMENTARY SCHOOL                       )
14
     DISTRICT; WINDSOR UNIFIED                     )
     SCHOOL DISTRICT; WRIGHT                       )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   CERES UNIFIED SCHOOL                          )
     DISTRICT; CHATOM UNION                        )
17
     SCHOOL DISTRICT; DENAIR                       )
18   UNIFIED SCHOOL DISTRICT;                      )
     EMPIRE UNION ELEMENTARY                       )
19
     SCHOOL DISTRICT; GRATTON                      )
20   ELEMENTARY SCHOOL DISTRICT;                   )
21
     HART-RANSOM UNION                             )
     ELEMENTARY SCHOOL DISTRICT;                   )
22   HICKMAN COMMUNITY CHARTER                     )
23   SCHOOL DISTRICT; HUGHSON                      )
     UNIFIED SCHOOL DISTRICT;                      )
24
     KEYES UNION SCHOOL DISTRICT;                  )
25   KNIGHTS FERRY ELEMENTARY                      )
     SCHOOL DISTRICT; MODESTO                      )
26
     CITY ELEMENTARY SCHOOL                        )
27   DISTRICT; MODESTO CITY HIGH                   )
28                                            36
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1    SCHOOL DISTRICT; MODESTO                      )
2    CITY SCHOOLS; NEWMAN-CROWS                    )
     LANDING UNIFIED SCHOOL                        )
3
     DISTRICT; OAKDALE JOINT                       )
4    UNIFIED SCHOOL DISTRICT;                      )
     PARADISE ELEMENTARY SCHOOL                    )
5
     DISTRICT; PATTERSON JOINT                     )
6    UNIFIED SCHOOL DISTRICT;                      )
7
     RIVERBANK UNIFIED SCHOOL                      )
     DISTRICT; ROBERTS FERRY                       )
8    UNION ELEMENTARY SCHOOL                       )
9    DISTRICT; SALIDA UNION                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     SHILOH ELEMENTARY SCHOOL                      )
11   DISTRICT; STANISLAUS UNION                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     SYLVAN UNION ELEMENTARY                       )
13   SCHOOL DISTRICT; TURLOCK                      )
14
     UNIFIED SCHOOL DISTRICT;                      )
     VALLEY HOME JOINT                             )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   WATERFORD UNIFIED SCHOOL                      )
     DISTRICT; BRITTAN ELEMENTARY                  )
17
     SCHOOL DISTRICT; BROWNS                       )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     EAST NICOLAUS JOINT UNION                     )
19
     HIGH SCHOOL DISTRICT;                         )
20   FRANKLIN ELEMENTARY SCHOOL                    )
21
     DISTRICT; LIVE OAK UNIFIED                    )
     SCHOOL DISTRICT; MARCUM-                      )
22   ILLINOIS UNION ELEMENTARY                     )
23   SCHOOL DISTRICT; MERIDIAN                     )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     NUESTRO ELEMENTARY SCHOOL                     )
25   DISTRICT; PLEASANT GROVE                      )
     JOINT UNION SCHOOL DISTRICT;                  )
26
     SUTTER UNION HIGH SCHOOL                      )
27   DISTRICT; WINSHIP-ROBBINS                     )
28                                            37
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1    SCHOOL DISTRICT; YUBA CITY                    )
2    UNIFIED SCHOOL DISTRICT;                      )
     ANTELOPE ELEMENTARY                           )
3
     SCHOOL DISTRICT; CORNING                      )
4    UNION ELEMENTARY SCHOOL                       )
     DISTRICT; CORNING UNION HIGH                  )
5
     SCHOOL DISTRICT; EVERGREEN                    )
6    UNION SCHOOL DISTRICT;                        )
7
     FLOURNOY UNION ELEMENTARY                     )
     SCHOOL DISTRICT; GERBER                       )
8    UNION ELEMENTARY SCHOOL                       )
9    DISTRICT; KIRKWOOD                            )
     ELEMENTARY SCHOOL DISTRICT;                   )
10
     LASSEN VIEW UNION                             )
11   ELEMENTARY SCHOOL DISTRICT;                   )
     LOS MOLINOS UNIFIED SCHOOL                    )
12
     DISTRICT; RED BLUFF JOINT                     )
13   UNION HIGH SCHOOL DISTRICT;                   )
14
     RED BLUFF UNION ELEMENTARY                    )
     SCHOOL DISTRICT; REEDS CREEK                  )
15   ELEMENTARY SCHOOL DISTRICT;                   )
16   RICHFIELD ELEMENTARY                          )
     SCHOOL DISTRICT; BURNT RANCH                  )
17
     ELEMENTARY SCHOOL DISTRICT;                   )
18   COFFEE CREEK ELEMENTARY                       )
     SCHOOL DISTRICT; DOUGLAS                      )
19
     CITY ELEMENTARY SCHOOL                        )
20   DISTRICT; JUNCTION CITY                       )
21
     ELEMENTARY SCHOOL DISTRICT;                   )
     LEWISTON ELEMENTARY SCHOOL                    )
22   DISTRICT; MOUNTAIN VALLEY                     )
23   UNIFIED SCHOOL DISTRICT;                      )
     SOUTHERN TRINITY JOINT                        )
24
     UNIFIED SCHOOL DISTRICT;                      )
25   TRINITY ALPS UNIFIED SCHOOL                   )
     DISTRICT; TRINITY CENTER                      )
26
     ELEMENTARY SCHOOL DISTRICT;                   )
27   ALLENSWORTH ELEMENTARY                        )
28                                            38
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1    SCHOOL DISTRICT; ALPAUGH                      )
2    UNIFIED SCHOOL DISTRICT; ALTA                 )
     VISTA ELEMENTARY SCHOOL                       )
3
     DISTRICT; BUENA VISTA                         )
4    ELEMENTARY SCHOOL DISTRICT;                   )
     BURTON ELEMENTARY SCHOOL                      )
5
     DISTRICT; COLUMBINE                           )
6    ELEMENTARY SCHOOL DISTRICT;                   )
7
     CUTLER-OROSI JOINT UNIFIED                    )
     SCHOOL DISTRICT; DINUBA                       )
8    UNIFIED SCHOOL DISTRICT;                      )
9    DUCOR UNION ELEMENTARY                        )
     SCHOOL DISTRICT; EARLIMART                    )
10
     ELEMENTARY SCHOOL DISTRICT;                   )
11   EXETER UNIFIED SCHOOL                         )
     DISTRICT; FARMERSVILLE                        )
12
     UNIFIED SCHOOL DISTRICT; HOPE                 )
13   ELEMENTARY SCHOOL DISTRICT;                   )
14
     HOT SPRINGS ELEMENTARY                        )
     SCHOOL DISTRICT; KINGS RIVER                  )
15   UNION ELEMENTARY SCHOOL                       )
16   DISTRICT; LIBERTY ELEMENTARY                  )
     SCHOOL DISTRICT; LINDSAY                      )
17
     UNIFIED SCHOOL DISTRICT;                      )
18   MONSON-SULTANA JOINT UNION                    )
     ELEMENTARY SCHOOL DISTRICT;                   )
19
     OAK VALLEY UNION                              )
20   ELEMENTARY SCHOOL DISTRICT;                   )
21
     OUTSIDE CREEK ELEMENTARY                      )
     SCHOOL DISTRICT; PALO VERDE                   )
22   UNION ELEMENTARY SCHOOL                       )
23   DISTRICT; PIXLEY UNION                        )
     ELEMENTARY SCHOOL DISTRICT;                   )
24
     PLEASANT VIEW ELEMENTARY                      )
25   SCHOOL DISTRICT; PORTERVILLE                  )
     UNIFIED SCHOOL DISTRICT;                      )
26
     RICHGROVE ELEMENTARY                          )
27   SCHOOL DISTRICT; ROCKFORD                     )
28                                            39
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1    ELEMENTARY SCHOOL DISTRICT;                   )
2    SAUCELITO ELEMENTARY                          )
     SCHOOL DISTRICT; SEQUOIA                      )
3
     UNION ELEMENTARY SCHOOL                       )
4    DISTRICT; SPRINGVILLE UNION                   )
     ELEMENTARY SCHOOL DISTRICT;                   )
5
     STONE CORRAL ELEMENTARY                       )
6    SCHOOL DISTRICT; STRATHMORE                   )
7
     UNION ELEMENTARY SCHOOL                       )
     DISTRICT; SUNDALE UNION                       )
8    ELEMENTARY SCHOOL DISTRICT;                   )
9    SUNNYSIDE UNION ELEMENTARY                    )
     SCHOOL DISTRICT; TERRA BELLA                  )
10
     UNION ELEMENTARY SCHOOL                       )
11   DISTRICT; THREE RIVERS UNION                  )
     ELEMENTARY SCHOOL DISTRICT;                   )
12
     TIPTON ELEMENTARY SCHOOL                      )
13   DISTRICT; TRAVER JOINT                        )
14
     ELEMENTARY SCHOOL DISTRICT;                   )
     TULARE CITY SCHOOL DISTRICT;                  )
15   TULARE JOINT UNION HIGH                       )
16   SCHOOL DISTRICT; VISALIA                      )
     UNIFIED SCHOOL DISTRICT;                      )
17
     WAUKENA JOINT UNION                           )
18   ELEMENTARY; WOODLAKE                          )
     UNIFIED SCHOOL DISTRICT;                      )
19
     WOODVILLE UNION ELEMENTARY                    )
20   SCHOOL DISTRICT; BELLEVIEW                    )
21
     ELEMENTARY SCHOOL DISTRICT;                   )
     BIG OAK FLAT-GROVELAND                        )
22   UNIFIED SCHOOL DISTRICT;                      )
23   COLUMBIA UNION SCHOOL                         )
     DISTRICT; CURTIS CREEK                        )
24
     ELEMENTARY SCHOOL DISTRICT;                   )
25   JAMESTOWN ELEMENTARY                          )
     SCHOOL DISTRICT; SONORA                       )
26
     ELEMENTARY SCHOOL DISTRICT;                   )
27   SONORA UNION HIGH SCHOOL                      )
28                                            40
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1    DISTRICT; SOULSBYVILLE                        )
2    ELEMENTARY SCHOOL DISTRICT;                   )
     SUMMERVILLE ELEMENTARY                        )
3
     SCHOOL DISTRICT;                              )
4    SUMMERVILLE UNION HIGH                        )
     SCHOOL DISTRICT; TWAIN HARTE                  )
5
     SCHOOL DISTRICT; BRIGGS                       )
6    ELEMENTARY SCHOOL DISTRICT;                   )
7
     CONEJO VALLEY UNIFIED                         )
     SCHOOL DISTRICT; FILLMORE                     )
8    UNIFIED SCHOOL DISTRICT;                      )
9    HUENEME ELEMENTARY SCHOOL                     )
     DISTRICT; MESA UNION                          )
10
     ELEMENTARY SCHOOL DISTRICT;                   )
11   MOORPARK UNIFIED SCHOOL                       )
     DISTRICT; MUPU ELEMENTARY                     )
12
     SCHOOL DISTRICT; OAK PARK                     )
13   UNIFIED SCHOOL DISTRICT;                      )
14
     OCEAN VIEW SCHOOL DISTRICT;                   )
     OJAI UNIFIED SCHOOL DISTRICT;                 )
15   OXNARD SCHOOL DISTRICT;                       )
16   OXNARD UNION HIGH SCHOOL                      )
     DISTRICT; PLEASANT VALLEY                     )
17
     SCHOOL DISTRICT; RIO                          )
18   ELEMENTARY SCHOOL DISTRICT;                   )
     SANTA CLARA ELEMENTARY                        )
19
     SCHOOL DISTRICT; SANTA PAULA                  )
20   UNIFIED SCHOOL DISTRICT; SIMI                 )
21
     VALLEY UNIFIED SCHOOL                         )
     DISTRICT; SOMIS UNION SCHOOL                  )
22   DISTRICT; VENTURA UNIFIED                     )
23   SCHOOL DISTRICT; DAVIS JOINT                  )
     UNIFIED SCHOOL DISTRICT;                      )
24
     ESPARTO UNIFIED SCHOOL                        )
25   DISTRICT; WASHINGTON UNIFIED                  )
     SCHOOL DISTRICT; WINTERS                      )
26
     JOINT UNIFIED SCHOOL                          )
27   DISTRICT; WOODLAND JOINT                      )
28                                            41
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1    UNIFIED SCHOOL DISTRICT;                          )
2    CAMPTONVILLE ELEMENTARY                           )
     SCHOOL DISTRICT; MARYSVILLE                       )
3
     JOINT UNIFIED SCHOOL                              )
4    DISTRICT; PLUMAS LAKE                             )
     ELEMENTARY SCHOOL DISTRICT;                       )
5
     WHEATLAND SCHOOL DISTRICT;                        )
6    WHEATLAND UNION HIGH                              )
7
     SCHOOL DISTRICT, as public entities               )
     organized and existing pursuant to the laws       )
8    of the State of California and doing              )
9    business as public school districts,              )
                                                       )
10
                           Defendants.                 )
11                                                     )
12
            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
13

14
           COME NOW Plaintiffs Danielle Howard Martinez, D.P., K.P., T.W.,

15   LaShonda Hubbard and P.C., individually and on behalf of all others similarly
16   situated, and for their Complaint For Declaratory Relief, Injunctive Relief, and
17   Damages against the Defendants named herein, and allege as follows:
18                            JURISDICTION AND VENUE
19         1.     This Honorable Court has jurisdiction over this matter under 28
20   U.S.C. §1331 as this matter arises under the Constitution and laws of the United
21   States, including but not limited to 20 U.S.C. §1400 et seq. and 42 U.S.C. §1983,
22   and under 28 U.S.C. §1343 as this matter seeks to redress the deprivation, under
23   color of state law, a right, privilege or immunity secured by the Constitution of
24
     the United States or by any Act of Congress providing for equal rights of citizens
25
     or of all persons within the jurisdiction of the United States. This Honorable
26
     Court has the authority to hear class action suits under 28 U.S.C. §1332(d).
27

28                                                42
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1          2.     Venue is appropriate in this Court under 28 U.S.C. §1391 because
2    this is the District in which most of the Defendants maintain offices, exercise
3
     their authority in their official capacities, and will enforce their Orders, and
4
     because a substantial part of the events and omissions giving rise to the claims
5
     herein occurred in this judicial district.
6
           3.     This Court has the authority to award the requested declaratory relief
7
     under 28 U.S.C. §2201(a).
8
           4.     This Court has the authority to award the requested injunctive relief
9
     and damages under 28 U.S.C. §1343(a).
10
           5.     This Court has the authority to award such further relief as the court
11
     deems appropriate under 28 U.S.C. §2202 and under 20 U.S.C. §
12

13
     1415(i)(2)(C)(iii) (“the court... shall grant such relief as the court determines

14
     appropriate”).

15         6.     This Court has the authority to award attorneys’ fees and costs under
16   42 U.S.C. §1983, pursuant to 42 U.S.C. §1988, and under 20 U.S.C. §
17   1415(i)(3)(B).
18                                     INTRODUCTION
19         7.     This case involves a group of California special needs students and
20   their parents, who are representative of all special needs students and their parents
21   in California and who have found their most fundamental rights under the
22   Individuals with Disabilities Education Act, 20 U.S.C. §1400 et seq. (the
23   “IDEA”) and related statutes taken away by the State of California when the state
24
     reassigned them to distance learning / online learning without determining what
25
     changes needed to be made to their individualized education programs (“IEP”) to
26
     account for the differences in distance learning compared to in-person instruction.
27
     The IEP is the lynchpin of the IDEA which ensures that students with special
28                                                 43
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1    needs are placed on an equal footing with their non-special needs peers. By
2    transferring these students to distance learning without even learning what
3
     accommodations needed to be made for these students, they have been set up for
4
     failure and, thereby, denied a free appropriate public education, the cornerstone of
5
     the right to a basic minimum education.
6
           8.       Now, these students face the loss of their basic minimum education
7
     for the 2020-2021 School Year because (1) Governor Newsom has not properly
8
     addressed the IDEA in his Executive Orders, (2) Defendants State Department of
9
     Education, State Board of Education, California Health and Human Services
10
     Agency, California Department of Public Health, California Governor Gavin
11
     Newsom, State Superintendent of Public Instruction and Director of Education
12

13
     Tony Thurmond, State Public Health Officer & Director of the California

14
     Department of Public Health Sonia Y. Angell mishandled and inadequately

15   implemented the IDEA through their Covid-19 related guidances and regulations,
16   and (3) the District Defendants chose not to comply with the IDEA, thrusting
17   their responsibilities onto untrained parents.
18         9.       Plaintiffs seek declaratory and injunctive relief to require the
19   Defendants to comply with the IDEA and receive the accommodations necessary
20   to ensure that they do not lose another year of education in 2020-2021 as a result
21   of the Defendants’ failures, as well as catch-up assistance to compensate them for
22   their loss of a basic minimum education for the end of the 2019-2020 School
23   Year. Ultimately, they seek to be placed on the same footing as their non-special
24
     needs peers.
25
                             CLASS ACTION ALLEGATIONS
26
           10.      “Proposed Class” are an unknown number of students who are
27
     entitled to receive special education services from the District Defendants but
28                                                 44
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1    have been denied the services to which they are entitled under their IEPs because
2    they have been assigned to distance-learning without any accommodations being
3
     made for the difficulties they face as a result of their disabilities. The exact
4
     number and identity of these individuals is not known, but are believed to number
5
     approximately 800,000.       These students are spread throughout the District
6
     Defendants. Each member of the Proposed Class has suffered deprivations of
7
     their rights that entail the identical questions of law being addressed herein by
8
     Plaintiffs, could legally make the same claims raised herein by Plaintiffs subject
9
     only to minor factual differences depending on the nature of their disabilities, and
10
     would face the same defenses expected to be raised herein. Allowing these
11
     matters to be addressed as a class would adequately address the concerns and
12

13
     interests of all members of the Proposed Class, whereas requiring those matters to

14
     proceed separately could lead to inconsistent adjudications.                 Plaintiffs are

15   representative of the members of the Proposed Class and of the problems the
16   members of the Proposed Class are having as a result of distance learning, and
17   Plaintiffs’ counsel has extensive experience in matters related to representing
18   students with disabilities. Thus, Plaintiffs can fairly and adequately protect the
19   interests of the class and, if certified, Plaintiffs will move by separate motion
20   under Rule 23 of the Federal Rules of Civil Procedure to certify this action as a
21   class action to allow Plaintiffs to represent all members of the Proposed Class.
22                                      THE PARTIES
23         11.    Plaintiff Danielle Howard Martinez (“Plaintiff Martinez”) is suis
24
     juris and a resident of San Bernardino County. She is the guardian of three
25
     children who all qualify for special needs education. Plaintiff D.P. is her foster
26
     son. Plaintiff K.P. is her foster daughter. Plaintiff T.W. is her foster son.
27

28                                                45
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1          12.    Plaintiff D.P., a minor, is a fifth-grade student at Falcon Ridge
2    Elementary School within Etiwanda School District in San Bernardino County.
3
     D.P. is a special needs student.
4
           13.    Plaintiff K.P., a minor, is a third-grade student at John L. Golden
5
     Elementary within Etiwanda School District in San Bernardino County. K.P. is a
6
     special needs student.
7
           14.    Plaintiff T.W., a minor, attends Los Osos High School within
8
     Chaffey Joint Union High School District in Rancho Cucamonga. T.W. is a
9
     special needs student.
10
           15.    Plaintiff Amber Wood is T.W.’s biological mother and holds
11
     educational rights for T.W.
12

13
           16.    Plaintiff LaShonda Hubbard (“Plaintiff Hubbard”) is suis juris and a

14
     resident of San Bernardino County. She is the mother of Plaintiff P.C.

15         17.    Plaintiff P.C., a minor, is a tenth grader at Rancho Cucamonga High
16   School within Chaffey Joint Union High School District. P.C. is a special needs
17   student.
18         18.    Defendant State of California is subject to the United States
19   Constitution, Federal law, and its own Constitution and laws.
20   19.   Defendant Gavin Newsom (“Governor Newsom”) is the Governor of the
21   State of California and is vested by the California Constitution with the “supreme
22   executive power of the state” and is charged with seeing “that the law is faithfully
23   executed.”   Cal. Const. Art. V, §1.         As such, he has the authority to issue
24
     Executive Orders to ensure that the law is faithfully executed. Governor Newsom
25
     is sued in his official capacity for the issuance of various Executive Orders which
26
     have deprived the Plaintiffs of their rights under United States and California law.
27

28                                                46
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1          20.    Defendant State Department of Education (“Department of
2    Education”) is the agency within the State of California which oversees public
3
     education. It issued guidance which deprived the Plaintiffs of their rights under
4
     United States and California law.
5
           21.    Defendant State Board of Education (“Board of Education”) is the
6
     governing and policy-making body of the California Department of Education. It
7
     issued guidance which deprived the Plaintiffs of their rights under United States
8
     and California law.
9
           22.    Defendant Tony Thurmond (“Superintendent Thurmond”) is the
10
     State Superintendent of Public Instruction and Director of Education, and is
11
     responsible for establishing the rules for special education in the State of
12

13
     California to ensure that all “eligible children with exceptional needs are given

14
     equal access to all child care and development programs.” See Education Code

15   Title 1, Division 1, Part 6, Chapter 2, Article 9, Sec. 8250. Superintendent
16   Thurmond is sued in his official capacity for guidance he issued which has
17   deprived Plaintiffs of their rights under United States and California law.
18         23.    Defendant California Health and Human Services Agency (“Health
19   and Human Services Agency”) is the agency within the State of California tasked
20   with administration and oversight of state and federal programs for health care,
21   social services, public assistance and rehabilitation. It issued guidance which
22   deprived the Plaintiffs of their rights under United States and California law.
23         24.    Defendant California Department of Public Health (“Department of
24
     Public Health”) is a subdivision of the California Health and Human Services
25
     Agency and is the state department responsible for public health in California. It
26
     issued guidance which deprived the Plaintiffs of their rights under United States
27
     and California law.
28                                                47
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1          25.    Defendant Sonia Y. Angell, MD, MPH (“Director Angell”) is the
2    State Public Health Officer & Director of the California Department of Public
3
     Health. She is sued in her official capacity for guidance she issued which has
4
     deprived Plaintiffs of their rights under United States and California law.
5
           26.    California School Districts named in the caption, (“District
6
     Defendants” or “Districts”) are sued for failing to comply with United States and
7
     California law and thereby depriving Plaintiffs of their rights.
8
           27.    Each and every Defendant acted under color of state law with respect
9
     to all acts or omissions herein alleged.
10
                                             FACTS
11
           28.    On March 4, 2020, Governor Newsom proclaimed a State of
12

13
     Emergency as a result of the Covid-19 virus. See Exhibit A.

14
           29.    On March 13, 2020, Governor Newsom issued Executive Order N-

15   26-20 (“March 13, 2020 Executive Order”) which allowed school districts to
16   close and assign students to distance learning / online learning, and which
17   required the Department of Education and the Health and Human Services
18   Agency to “jointly develop and issue guidance by March 17, 2020” which would
19   cover, among other things, the following topics:
20
                  (i) Implementing distance learning strategies and
21                addressing equity and access issues that may arise due
22
                  to differential access to internet connectivity and
                  technology;
23
                  (ii) Ensuring students with disabilities receive a free and
24                appropriate public education consistent with their
25                individualized education program and meeting other
                  procedural requirements under the Individuals with
26                Disabilities Act and California law.
27
     See Exhibit B.
28                                                48
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1          30.    On March 17, 2020, the California Department of Education, the
2    State Board of Education, and the California Health and Human Services Agency
3
     issued the guidance required by the March 13, 2020 Executive Order (“March 17,
4
     2020 CDE Guidance”). https://www.cde.ca.gov/ls/he/hn/strongertogether.asp.
5
     This Guidance included a section on ensuring a Free Appropriate Public
6
     Education (“FAPE”) under the Individuals with Disabilities Education Act, 20
7
     U.S.C. §1400 et seq. (the “IDEA”). In this section, the March 17, 2020 CDE
8
     Guidance encouraged, but did not require, the state’s school districts, including
9
     each of the District Defendants, to:
10

11                ●     Work with each family and student to determine
                  what FAPE looks like for each student and family
12
                  during COVID-19. It may be different than the
13                individualized education program (IEP) developed pre-
                  COVID-19.
14
                  ●      Use the LEA model(s) for all students as the basis
15
                  for establishing FAPE.
16
                  ●      Ensure children with disabilities are included in
17                all offerings of school education models by using the
                  IEP process to customize educational opportunities and
18
                  provide supports when necessary.
19
                  ●     Use annual IEP to plan for traditional school year
20                and while not required, it is suggested LEAs include
21
                  distance learning plans or addendums to address
                  distance learning needs during immediate or future
22                school site closures.
23
     See https://www.cde.ca.gov/ls/he/hn/strongertogether.asp. This guidance applied
24
     to each of the District Defendants.
25

26

27

28                                                49
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1          31.    Supplemental guidance was provided as well, on March 21, 2020,
2    which also does not require that each students’ needs be determined. See Exhibit
3
     C.
4
     32.   The District Defendants did not reassess special needs students.
5
           33.    On March 19, 2020, Governor Newsom issued Executive Order N-
6
     33-20 (“March 19, 2020 Executive Order”) which ordered all Californians to stay
7
     at home, effectively shutting down all schools in the state and effectively
8
     transferring all special needs students to distance learning / online learning for the
9
     remainder of the 2019-2020 School Year. See Exhibit D.
10
           34.    On May 4, 2020, Governor Newsom issued Executive Order N-60-
11
     20 (“May 4, 2020 Executive Order”) reaffirming that all residents of California
12

13
     continue to obey the state public health directives and directed the Public Health

14
     Office to establish criteria for re-opening the state. See Exhibit E.

15         35.    The 2019-2020 School Year ended in May 2020 plus an ESY
16   (Summer School) session in June 2020.
17         36.    On July 17, 2020, Defendant California Health and Human Services
18   Agency, through Defendant Department of Public Health, issued a framework for
19   the reopening of in-person learning for K-12 schools in California (“July 17, 2020
20   DPH Guidance”).      See Exhibit F.       Issued by State Public Health Officer &
21   Director Sonia Y. Angell, MD, MPH, and titled: “COVID-19 and Reopening In-
22   Person Learning Framework for K-12 Schools in California, 2020-2021 School
23   Year, July 17, 2020,” the July 17, 2020 DPH Guidance provides, among other
24
     things:
25
                  (1) California schools have been closed for in-person
26
                  instruction since mid-March 2020 due to the COVID-19
27                pandemic.
28                                                50
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1                   (2) Schools and school districts may re-open for in-
2                   person instruction only if they are located in a local
                    health jurisdiction which has not been on the county
3
                    monitoring list within the prior 14 days.
4                   (3) Waivers can be obtained for the 14 day requirement,
5                   but only by elementary schools.
6                   (4) Schools are not required to close again if the local
                    health jurisdiction is returned to the county monitoring
7
                    list, but are required to close if 25% or more of the other
8                   schools in the district have closed.
9
     No mention was made in this Guidance of Special Education students or their
10
     needs.
11
              37.   Under the July 17, 2020 DPH Guidance, local health officers (district
12
     superintendents, private school principals, or executive directors of charter
13
     schools) could request waivers for elementary schools (K-6 only) for these
14
     requirements.       https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
15
     19/In-Person-Elementary-Waiver-Process.aspx               This has not resulted in the
16

17
     consistent opening of schools, nor has this tool been used to remedy the effect of

18   closure on special needs students. None of the Plaintiffs’ schools has reopened.

19            38.   Compliance by California schools with the July 17, 2020 DPH
20   guidance was made mandatory by the May 4, 2020 Executive Order.
21            39.   Under the plan created by the May 4, 2020 Executive Order and the
22   July 17, 2020 DPH Guidance, most schools remain closed with special needs
23   students continuing distance learning / online learning for the 2020-2021 School
24   Year even though their IEPs have never been adjusted to account for the
25   difficulties these students face in distance learning / online instruction as
26   compared to in-person instruction as a result of their individual disabilities.
27

28                                                  51
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1          40.   Under this plan, as of July 30, 2020, Governor Newsom through the
2    Department of Public Health has allowed school athletics to resume in-person.
3
     https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Youth-Sports-
4
     FAQ.aspx
5
           41.   On August 14, 2020, Governor Newsom issued Executive Order N-
6
     73-20 (“August 14, 2020 Executive Order”) related to broadband issues. See
7
     Exhibit G. This Order stated, among other things:
8
                 WHEREAS the COVID-19 pandemic has caused
9                schools to shift to distance learning;
10
                                         *      *       *
11

12               NOW, THEREFORE, I, GAVIN NEWSOM,
13
                 Governor of the State of California in accordance with
                 the power      and authority vested in me by the
14               Constitution and statutes of the State of California, do
15               hereby issue this Order to become effective
                 immediately.
16

17               IT IS HEREBY ORDERED THAT:
18
                                         *      *       *
19

20
                 14. The California Department of Education is
                 requested to continue leading statewide efforts to ensure
21               that students have the computing devices and
22               connectivity necessary for distance learning and online
                 instruction.
23

24         42.   The same day, August 14, 2020, Governor Newsom released a press
25   release (“August 14, 2020 Press Release”) stating that schools would receive $5.3
26   billion to support learning during the pandemic and that he had issued the August
27

28                                               52
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1    14, 2020 Executive Order to direct state agencies to “bridge the digital divide.”
2    Said Governor Newsom:
3

4                 Schools may be physically closed, but in California at
                  least, class is still in session. While more work remains,
5                 districts across the state are in a far better position this
6                 semester to provide meaningful distance instruction to
                  every child.
7

8                 In these challenging circumstances, our state has
                  profound respect and gratitude for the parents and
9                 teachers who are doing all they can to make sure
10                our students’ educational and social-emotional needs
                  are met.
11

12   See Exhibit H.
13         43.    The August 14, 2020 Press Release further states:
14
                  New statewide requirements have been enacted to
15                ensure quality instruction through distance learning,
16
                  including:

17
                               ● Access to devices and connectivity for all
                               kids
18
                               ● Daily live interaction with teachers and
19                             other students
20                             ● Challenging assignments equivalent to in-
21
                               person classes

22
                               ● Adapted lessons for English-language
                               learners and special education students
23

24   The “statewide requirements” to which the August 14, 2020 Press Release linked,
25   however, were the July 17, 2020 DPH Guidance which makes no mention of
26   special needs students.
27

28                                                53
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1          44.    On August 25, 2020, the Department of Public Health issues
2    Guidance for “Small Cohort.”          This provides guidance for in-person child
3
     supervision and limited instruction, targeted support services, and facilitation of
4
     distance learning in small group environments for a specified subset of children,
5
     numbering 14 or fewer with no more than two supervising adults, stay together
6
     for all activities (e.g., meals, recreation, etc.), and avoid contact with people
7
     outside of their group in the setting. This Guidance explicitly notes that it does
8
     not supersede “Guidance and directives related to schools, child care, day camps,
9
     youth sports, and institutions of higher education,” and it has no operative
10
     provision allowing teaching in cohorts – it only describes the requirements for
11
     such teaching where it is allowed. See Exhibit I. This Guidance has not resulted
12

13
     in any of the Plaintiffs being allowed to return to in-person instruction.

14
           45.    On August 28, 2020, Governor Newsom revised his school opening

15   plan by eliminating the County Data Monitoring system, which was created by
16   the July 12, 2020 DPH Guidance, and replacing it with a “Blueprint for a Safer
17   Economy,” which makes opening even harder as it designates almost every
18   county in the state as having widespread Covid and it requires counties to step
19   down through a tier system toward reopening.                https://covid19.ca.gov/safer-
20   economy/ Only 19 counties currently are within the tiers where they can attempt
21   reopening. The others must first reach the “substantial” tier and stay there for two
22   weeks.
23         46.    Plaintiff D.P. attends Falcon Ridge Elementary School within
24
     Etiwanda School District in San Bernardino County as a fifth grader. Plaintiff
25
     D.P. is eligible for special education services because he has significant multiple
26
     developmental and communication challenges that include basic areas of self-
27
     care, communication of his needs, and response to his environment. He has an
28                                                54
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1    existing Individualized Education Program (“IEP”) and has been attending a
2    combination of special day class and mainstreaming in general education. His
3
     IEP goals include Letter Identification, Number Identification, Reading
4
     Comprehension, Focus and Attention, Motor Skills involving hand-over-hand
5
     tracing, Receptive and Expressive language, Intelligibility and Sound Production,
6
     and Communication Pragmatics.
7
           47.   D.P. needs personal interaction with instructors and other students.
8
     Prior to the issue of Covid-19, psychologists determined that D.P. enjoys
9
     interacting with neuro-typical general education peers and the staff in the
10
     classroom and learns best through visual models and hands-on activities in
11
     addition to playing with musical instruments, listening to music, and dancing. He
12

13
     suffers severe delays in pragmatics communication, though he has been showing

14
     improvement from interacting with his general education peers in his partially

15   mainstreamed academic setting as he benefits from imitating his age-typical
16   peers. It also has been noted that D.P. requires the daily assistance of a staff
17   member to guide him through an iPad app or computer program.                He uses
18   Classroom Assistive Technology and needs accommodations including a 1:1 aide
19   for mainstreaming, and behavior support in the areas of attention, motivation, and
20   transitions, as well as for frequent breaks.         D.P. also receives occupational
21   therapy services requiring hand-over-hand assistance, and he receives 1:1
22   assistance from an aide.
23         48.   D.P. has not been in a school environment since March 13, 2020
24
     when Falcon Ridge Elementary School closed in response to the March 13, 2020
25
     Executive Order.
26
           49.   D.P. is now displaying regressive behaviors such as being distracted
27
     by nearby visuals, frequently spilling contents when opening containers, stomping
28                                               55
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1    his feet when walking, and communicating by pointing or bringing an object to an
2    adult rather than using his words. He has tried numerous times to focus but
3
     cannot learn via an online format.
4
           50.    At no point during the 2019-2020 School Year was D.P.’s IEP
5
     changed to reflect the differences between distance learning / online instruction
6
     and in-person instruction, and has not been changed since.
7
           51.    Plaintiff D.P.’s parent, Plaintiff Martinez, was not contacted to
8
     provide input into any revision to D.P.’s IEP.
9
           52.    No accommodations were offered to Plaintiff D.P. or Plaintiff
10
     Martinez to account for the difficulties Plaintiff faces in distance learning / online
11
     instruction as compared to in-person instruction as a result of D.P.’s disabilities.
12

13
           53.    Plaintiff K.P. attends John L. Golden Elementary within Etiwanda

14
     School District in San Bernardino County. Plaintiff K.P. is eligible for special

15   education services with an eligibility of Intellectual Disability and Speech and
16   Language impairment. She has an existing IEP and receives academics, speech
17   and language, or other services mandated by her IEP. Her IEP includes goals in
18   the areas of Phonics/Decoding Skills, Reading High-Frequency Words, Rote
19   Counting to 100, Addition Skills, Visual Motor Skills, Learning to raise her hand
20   at appropriate times, Speech and Language skills, and communication goals.
21         54.    K.P. has not been in a school environment since March 13, 2020
22   when John L. Golden Elementary closed in response to the March 13, 2020
23   Executive Order.
24
           55.    K.P. needs personal interaction with instructors and other students.
25
     There has been no progress made toward any of her IEP goals for the last six
26
     months. Without constant prompts and redirection, K.P. cannot remain on task;
27
     according to her educational records, she has a marked tendency toward
28                                                56
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1    regression in her learning progress, and environmental reinforcements are
2    unavailable during distance learning. Her guardian has attempted to oversee K.P.
3
     along with her other two fosters in a distance learning setting, yet these attempts
4
     have repeatedly failed.
5
            56.      Plaintiff K.P.’s IEP was not changed to reflect the differences
6
     between distance learning / online instruction and in-person instruction, and has
7
     not been changed since.
8
            57.      Plaintiff K.P.’s parent, Plaintiff Martinez, was not contacted to
9
     provide input into any revision to K.P.’s IEP.
10
            58.      No accommodations were offered to Plaintiff K.P. or Plaintiff
11
     Martinez to account for the difficulties Plaintiffs faces in distance learning /
12

13
     online instruction as compared to in-person instruction as a result of K.P.’s

14
     disabilities.

15          59.      Plaintiff T.W. attends Los Osos High School within Chaffey Joint
16   Union High School District in Rancho Cucamonga. Plaintiff T.W. is eligible for
17   special education services with an eligibility of Multiple Disability and,
18   secondarily, under Orthopedic Impairment, and currently is attending a Special
19   Day Class program that operates within Los Osos High School.                   T.W. has
20   attended that program for the past three academic years, with inclusion in a few
21   general education classes with 1:1 aide assistance. T.W. has severe impairments
22   with neurocognitive and motility differences due to neurological medical
23
     conditions, originating with his surgery at the age of two months to remove an
24
     intracranial tumor, wherein he received a shunt. Three years ago, he suffered a
25
     stroke, as a result of a prolonged seizure, resulting in paralysis. His seizures have
26
     been so significant they occasionally result in paralysis. T.W. has episodes where
27
     he loses his balance and falls. He has right hemiplegia, intellectual disability,
28                                                  57
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1    short-term memory loss, and is prescribed psychotropic medications to address
2    his mood disorders.       His challenges in development, communication, and
3
     behavior are pervasive and impede his education, including but not limited to the
4
     ability to adapt to new situations and develop rewarding or sustained
5
     interpersonal relationships with peers.
6
           60.    Plaintiff T.W. was sent home when Los Osos High School closed in
7
     response to the March 13, 2020 Executive Order and/or March 19 2020 Executive
8
     Order, and reassigned to distance learning / online learning.
9
           61.    T.W. needs the assistance of a 1:1 behavioral aide throughout the
10
     entire school day to assist with social skills and interactions with peers and
11
     teachers in the school environment.            T.W. is overly sensitive and makes
12

13
     inappropriate conversation necessitating constant prompting and consistent

14   monitoring and assistance during all parts of the school day, in the classroom, and
15   in lunch and assemblies.       T.W. needs a behavioral aide not only to model
16   appropriate behavior, but to prompt him to remain focused and assist with
17   academic, behavioral, and functional tasks and interactions. T.W. requires lines
18   drawn on his papers and an aide to assist him with any item that requires a two
19   handed grasp, as well as verbal reminders or prompts to stay on task. When T.W.
20   is confused, he shuts down and refuses to comply. He needs physical therapy in
21   additional to the occupational therapy he receives.
22
           62.    Plaintiff T.W.’s IEP was not changed to reflect the differences
23
     between distance learning / online instruction and in-person instruction, and has
24
     not been changed since.
25
           63.    Neither Plaintiff T.W.’s biological mother and educational rights
26
     holder, Plaintiff Wood, nor T.W.’s guardian, Plaintiff Martinez, was contacted to
27
     provide input into any revision to T.W.’s IEP.
28                                                58
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1          64.    No accommodations were offered to Plaintiff T.W. or Plaintiff
2    Martinez or Plaintiff Wood to account for the difficulties Plaintiff faced in
3
     distance learning / online instruction as compared to in-person instruction as a
4
     result of T.W.’s disabilities.
5
           65.    It can be reasonably anticipated T.W. will experience a loss of a
6
     whole year’s worth of academic and functional skills learning from home.
7
           66.    Plaintiff Martinez has tried valiantly and genuinely to oversee the
8
     online learning of K.P., D.P. and T.W. yet she is untrained in special education, a
9
     true specialty. She also is untrained in behavioral sciences, occupational therapy,
10
     physical therapy, and speech and language therapy. She is overextended and has
11
     struggled with limited support, caring for more than one special needs child who
12

13
     need daily hands-on personal assistance to maintain focus and learn. She made

14   repeated attempts to secure a line of communication with K.P.’s school. She

15   shared her difficulties with the district when it addressed distance learning options
16   on July 30 and at an Open House. Yet, the distance learning program being
17   offered to her has proven entirely inadequate.
18         67.    Plaintiff P.C. is a tenth grader at Rancho Cucamonga High School
19   within Chaffey Joint Union High School District. P.C. is eligible for special
20   education services as a student with a Specific Learning Disability. She presents
21   behaviors of Inattention, Distraction, and Emotionality, crying easily, and her
22   feelings are easily hurt. P.C. is kind and polite, but that belies her sense of
23
     inadequacy: she has difficulty remembering learning previously taught lessons,
24
     overcoming her reading comprehension deficits, dealing with her learning
25
     difficulties with mathematical concepts and learning writing conventions, as well
26
     as difficulty in struggling alone with her lack of ability to focus and pay attention,
27
     thanks to her auditory processing deficits.
28                                                 59
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1          68.     P.C. has struggled tremendously to steadily attend her virtual school,
2    remain focused on her online lessons, and complete the work necessary to address
3
     her goals in the areas of Reading Comprehension, Math Reasoning and
4
     Calculations, Work Completion, and Transition. A settlement agreement with the
5
     school district placed P.C., during the 2019-2020 school year, into general
6
     education classes for 50% of the school day and 50% into the special day class or
7
     resource study skills classes so she would have the additional 1:1 support she
8
     needs. If school performance was challenging before the pandemic, requiring
9
     remedial assistance for at least half of the day in attaining academic goals, it has
10
     become an ever-increasing impossibility as more time passes and her work slips
11
     further and further behind. No one at home can assist P.C. sufficiently to see that
12

13
     her work is completed, answer her questions, and see that she advocates for

14
     herself in getting the distance help she needs in a synchronous or asynchronous

15   assignment.    Without an active and involved person at her side during the
16   learning process, and without her peers to set the norms of give and take
17   classroom dialogue, P.C. is a cypher in a cyber universe, a non-squeaky wheel
18   who will simply be left to fail quietly in the corner.
19         69.     Plaintiff P.C. was sent home when Rancho Cucamonga High School
20   closed in response to the March 13, 2020 Executive Order and/or March 19 2020
21   Executive Order, and reassigned to distance learning / online learning.
22         70.     At no point during the 2019-2020 School Year was P.C.’s IEP
23   changed to reflect the differences between distance learning / online instruction
24
     and in-person instruction, and has not been changed since.
25
           71.     Plaintiff P.C.’s parent, Plaintiff Hubbard, was not contacted to
26
     provide input into any revision to P.C.’s IEP.
27

28                                                 60
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1            72.   No accommodations were offered to Plaintiff P.C. or Plaintiff
2    Hubbard to account for the difficulties Plaintiff faced in distance learning / online
3
     instruction as compared to in-person instruction as a result of P.C.’s disabilities.
4
             73.   Plaintiff Hubbard has tried valiantly and genuinely to oversee the
5
     online learning of P.C. yet she is untrained in special education, a true specialty.
6
     She also is untrained in behavioral sciences, occupational therapy, physical
7
     therapy, and speech and language therapy. The distance learning program being
8
     offered to her has proven entirely inadequate.
9
             74.   Like the named Plaintiffs, each member of the Proposed Class is
10
     eligible for special needs services and either has or is entitled to an IEP.
11
             75.   Like the named Plaintiffs, each member of the Proposed Class was
12

13
     transferred to distance learning / online instruction during the 2019-2020 School

14
     Year.

15           76.   None of the their IEPs were changed for the 2019-2020 School Year
16   to reflect the differences vis-à-vis their disabilities between distance learning /
17   online instruction and in-person instruction. No accommodations were made for
18   the 2019-2020 School Year to account for the difficulties they faced in distance
19   learning / online instruction as compared to in-person instruction as a result of
20   their disabilities.
21           77.   The 2020-2021 School Year began in August.
22           78.   Under current policy created by the Defendants, Plaintiffs, as well as
23   each member of the Proposed Class, are to continue distance learning and online
24
     instruction for the 2020-2021 School Year until told otherwise.
25
             79.   None of the Plaintiffs has had their IEP reassessed or any other
26
     accommodation made for the 2020-2021 School Year for the affect of their
27

28                                                     61
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1    disabilities on their ability to learn in a distance learning / online learning
2    environment as compared to in-person instruction.
3
            80.    Each member of the Proposed Class faces the same violations faced
4
     by the named Plaintiffs, including lack of noteworthy changes to their IEPs for
5
     the 2019-2020 and 2020-2021 School Years and lack of accommodation for the
6
     effect of distance learning / online instruction on their disabilities.
7
            81.    Per a prior agreement with P.C.’s District, Chaffey Joint Union High
8
     School District was to fund a Lindamood Bell program to P.C. Due to Covid-19
9
     school closures, P.C. was unable to attend. Now that Lindamood Bell services
10
     have resumed, however, the District refuses to provide make-up sessions for
11
     reading comprehension and math comprehension with Lindamood Bell.
12

13
            82.    In June 2020, during an IEP meeting for Plaintiff P.C., the Special

14
     Education Advisor communicated to parent that online instruction was the same

15   as in-person education.
16          83.    Plaintiffs’ will provide expert testimony explaining how distance
17   learning negatively affects the IEPs of the various Plaintiffs and other special
18   needs students generally.
19          84.    Plaintiffs have been forced to retain private counsel to vindicate their
20   rights in this matter.
21          85.    To satisfy the IDEA for the 2020-2021 School Year, the Defendants
22   must either re-open the schools to the parents of those special need students
23   whose children cannot obtain the education to which they are entitled in a
24
     distance-learning / online setting, or they must alternatively provide these
25
     students with accommodations and substitute services equivalent to the direct
26
     education services and supports to which they agreed in their IEPs, whether those
27

28                                                 62
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1    are provided by private educational agencies, NPA’s or private professionals until
2    such time as schools are reopened.
3
           86.    Further, without the ability to conduct immediate, timely, valid
4
     reassessments, there should be a presumption of need in this regard that allows
5
     these students to obtain, at the defendants’ expense, all of the DIS services listed
6
     in Exhibit J until such time as each student can be reassessed and their specific
7
     needs and required accommodations ascertained.
8
           87.    With regard to the 2019-2020 School Year, there should be a
9
     presumption of regression entitling members of the Proposed Class to intensive
10
     makeup services including ESY and the DIS services listed in Exhibit J to catch
11
     these students up to where they should have been.
12

13
                 EXHAUSTION OF ADMINISTRATIVE REMEDIES
14
           88.    Plaintiffs are not required to further exhaust their administrative
15
     remedies prior to bringing this action.
16
           89.    Judicial review under the IDEA is normally not available until all
17
     administrative proceedings are completed, but the exhaustion doctrine is subject
18
     to certain exceptions. Hoeft v. Tucson Unified Sch. Dist., 967 F.2d 1298, 1302-02
19

20
     (9th Cir. 1992).

21
           90.    First, Plaintiffs have been told that the assessments required to

22   trigger the OAH administrative process cannot be performed until schools reopen
23   because they cannot be done online. Similarly, the March 21, 2020 supplemental
24   guidance suggests that the normal time requirements for completion of the
25   evaluation process do not apply in circumstances such as the Covid-19 pandemic.
26   See Exhibit C.        This prevents Plaintiffs from availing themselves of the
27   administrative process until after the Governor chooses to grant the relief sought
28                                                  63
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1    herein, and/or lets Districts delay as long as desired. In effect, there are no
2    remedies at the moment because of the very actions being challenged. Not to
3
     mention, with potentially 800,000 appeals needing to be processed by OAH,
4
     OAH will be incapable of providing the process it is meant to provide. Also,
5
     standardized assessments are deemed illegitimate when done by zoom or other
6
     virtual means. In essence students would need to wait until schools reopened to
7
     obtain new appropriate assessment which could then be appealed to OAH.
8
           91.    Secondly, parents may bypass the administrative process where
9
     exhaustion of the process would be futile or where it would be inadequate. Honig
10
     v. Doe, 484 U.S. 305, 325 (1988) (“parents may bypass the administrative process
11
     where exhaustion would be futile or inadequate”); Smith v. Robinson, 468 U.S.
12

13
     992, 1014, n.17 (1984); Hoeft v. Tucson Unified Sch. Dist., 967 F.2d 1298, 1302-

14
     02 (9th Cir. 1992) (citing H.R.Rep. No. 296, 99th Cong., 1st Sess. 7 (1985)); J.F.

15   v San Diego County USD, 19-CV-2495-CAL-LL, 4 (S.D. Cal. April 7, 2020). An
16   example of this is where it is improbable that adequate relief can be obtained by
17   pursuing administrative remedies because, for example, the hearing officer lacks
18   the authority to grant the relief sought. Id.
19         92.    Plaintiffs herein challenge various Executive Orders issued by the
20   Governor and/or guidance and regulations issued by the agency heads as those
21   Executive Orders and Guidances interfered with their existing IEPs and frustrated
22   their rights to obtained the benefits of those IEPs through the change to the
23   distance-learning setting ordered by the Governor and agency-level defendants.
24
           93.    Challenging those matters administratively would be futile because
25
     the IEP teams have no power or authority to ignore or overturn Executive Orders
26
     or regulations or guidance.
27

28                                                64
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1          94.    Moreover, California Education Code section 56505 has established
2    a right to appeal the decision of a local school district (IEP team) to the California
3
     Office of Administrative Hearing, but the OAH has authority over the local
4
     agency only; it has no authority over the agency heads or the Governor whose
5
     actions caused the deprivations. Thus, Plaintiffs could not challenge the matters
6
     that need to be challenged to repair the harm being done in this instance through
7
     OAH because the hearing officer lacks the authority to hear the matter. That
8
     makes the administrative remedies futile.
9
           95.    OAH could not issue an injunction against the Governor or the
10
     agencies who issues the Executive Orders and Guidances being challenged either
11
     because it lacks the power to issue an injunction. Thus, even if the OAH agreed
12

13
     entirely with the Plaintiffs, Plaintiffs still would need to bring this matter to this

14
     Honorable Court to obtain the remedies to which they are ultimately entitled

15   because the hearing officer lacks the authority to grant the relief sought. That
16   makes the administrative remedies inadequate.
17         96.    Further, time is critical for these Plaintiffs because the nature of their
18   injury causes their injury to grow each day they don’t receive a basic minimum
19   education, and the time it would take to assemble an IEP team (which cannot be
20   done in any event with schools closed), assess a particular plaintiff, issue a
21   decision, appeal that decision to OAH and receive a futile decision allowing
22   Plaintiffs to move to this Honorable Court to seek an effective remedy would cost
23   each Plaintiff who tried their right to a basic minimum education for most or all
24
     of the 2020-2021 School Year, which injury cannot be made whole in any true
25
     sense as the student would lose a year of education and fall behind their peers,
26
     permanently changing their educational circumstances.                In effect, requiring
27
     exhaustion of administrative remedies would have the effect of permanently
28                                                65
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1    injuring the Plaintiffs for the sake of a procedure that is both futile and inadequate
2    to addressing the injuries the Defendants have caused and are causing.             To
3
     exhaust the available remedies would take:
4
                  (1) The District would have up to 60 days from the date
5
                  the parents sign the reassessment plan to complete any
6                 reassessment;
7                 (2) An IEP meeting could in theory be done in hours,
                  but have historically taken between 2-3 months to
8
                  schedule;
9
                  (3) Once an OAH appeal is filed, OAH is required to
10                issue a decision within 45 day, though through
                  continuances, which are almost always granted, these
11
                  decision typically take six months. Due to Covid-19,
12                OAH cases are taking even longer.
13

14
     Even in an ideal world, this process would take 106 days, assuming instant action

15   by Plaintiffs in preparing the appeal to OAH and no continuances granted, and
16   would wipe out the first semester of the 2020-2021 School Year for the Plaintiffs.
17   In the real world, particularly with 800,000 children needing reassessment, this
18   will take well into the 2021-2022 School Year, assuming the system is not
19   overwhelmed and backs up even worse and assuming assessments are actually
20   begun without waiting for schools to re-open.
21         97.    Hoeft also held that an exception to the exhaustion doctrine is where
22   “an agency has adopted a policy or pursued a practice of general applicability that
23   is contrary to the law.” Hoeft v. Tucson Unified Sch. Dist., 967 F.2d 1298, 1302-
24
     02 (9th Cir. 1992) (citing H.R.Rep. No. 296, 99th Cong., 1st Sess. 7 (1985)); J.F.
25
     v San Diego County USD, 19-CV-2495-CAL-LL, 4 (S.D. Cal. April 7, 2020).
26
     Hoeft held that for a policy or practice of general applicability to justify excepting
27
     exhaustion, the quality of the violations must be sufficiently serious and pervasive
28                                                66
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1    to challenge the statutory goal or have the practical effect of denying the Plaintiffs
2    a forum for their grievance or the challenged policies and practices must be
3
     enforced at the highest administrative level so their only meaningful remedy is
4
     through the courts.
5
           98.    In this instance, the challenged policies come directly from the
6
     Governor of California, its highest administrative source, or agency heads directly
7
     beneath him. Those policies have the effect of vitiating every existing IEP agreed
8
     to by the state, of eliminating the IDEA’s guarantee that each IEP account for
9
     each individuals’ circumstances during at least the 2020-2021 School Year just
10
     beginning. That policy affects the abilities of IEP teams system-wide to offer
11
     required relief, creates disparate abilities for the few schools that may reopen, and
12

13
     effectively blocks the start of the administrative process in any event.

14
           99.    Finally, as non-special needs students would not be required to

15   engage in these administrative procedures to be allowed to challenge the same
16   Executive Orders and Guidances, requiring special needs students to exhaust their
17   remedies under the IDEA creates a unwarranted hurdle that would apply only to
18   special needs students.
19

20
                                         COUNT ONE

21
         REQUEST FOR DECLARATION, TEMPORARY RESTRAINING
        ORDER, AND PERMANENT INJUNCTION AGAINST GOVERNOR
22                          NEWSOM
23
           100. Plaintiffs reallege and incorporate by reference herein paragraphs 1
24
     through 99 as though set forth fully here in.
25
           101. The State of California is subject to the United States Constitution,
26

27
     Federal law, and its own Constitution and laws.

28                                                67
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1          102. Governor Newsom, as Governor of the State of California, is vested
2    by the California Constitution with the “supreme executive power of the state”
3
     and is charged with seeing “that the law is faithfully executed.” Cal. Const. Art.
4
     V, §1. As such, he has the authority to issue Executive Orders to ensure that the
5
     law is faithfully executed.
6
           103. On March 4, 2020, Governor Newsom proclaimed a State of
7
     Emergency as a result of the Covid-19 virus. See Exhibit A.
8
           104. On March 13, 2020, Governor Newsom issued the March 13, 2020
9
     Executive Order, allowing school districts to close and assign students to distance
10
     learning / online learning. See Exhibit B.
11
           105. Such an Order, with nothing more, would violate the IDEA because
12

13
     it would interfere with the existing IEPs of special needs students by placing them

14
     into a setting where they could no longer receive services necessarily provided in-

15   person such as hand-over-hand guidance, having lessons drawn for them on paper
16   or pointed to by hand on computers, physically being shown proper behaviors,
17   physical therapy and the such, and would thereby deprive them of a FAPE.
18         106. It would also violate the IDEA's stay-put procedures. “The purpose
19   of the stay-put provision is to prevent school districts from ‘effecting unilateral
20   change in a child’s educational program.’”            Erickson v. Albuquerque Public
21   Schools, 199 F.3d 1116, 1121 (10th Cir. 1999) (quoting Susquenita Sch. Dist. v.
22   Raelee S., 96 F.3d 78, 83 (3d Cir. 1996)).             The Ninth Circuit has defined
23   “placement” as the child’s last implemented IEP. N.E. ex rel. C.E. & P.E. v.
24
     Seattle Sch. Dist., 842 F.3d 1093, 1096 (9th Cir. 2016).                And a change in
25
     placement occurs “when there is a significant change in the student’s program.”
26
     N.D. v. Haw. Dep’t of Educ., 600 F.3d 1104, 1116 (9th Cir. 2010); Erickson v.
27
     Albuquerque Public Schools, 199 F.3d 1116, 1121 (10th Cir. 1999). Taking a
28                                                68
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1    student who requires constant in-person supervision, to be physically shown
2    proper behaviors, to be instructed hand-over-hand, to have lessons drawn for
3
     them on paper or an instructor leading them through computer lessons by pointing
4
     suddenly or other in-person instruction and sending them to remote learning
5
     where none of those services is available would be a prime example of a change
6
     in educational placement.
7
           107. In an attempt to avoid this violation, the March 13, 2020 Executive
8
     Order also ordered Defendants Department of Education and Health and Human
9
     Services Agency to “jointly develop and issue guidance by March 17, 2020”
10
     which would implement distance learning while “[e]nsuring students with
11
     disabilities receive a free and appropriate public education consistent with their
12

13
     individualized education program and meeting other procedural requirements

14
     under the Individuals with Disabilities Act and California law.” See Exhibit B.

15         108. That guidance was issued on March 17, 2020 by Defendants
16   Department of Education, State Board of Education, and Health and Human
17   Services Agency. The March 17, 2020 CDE Guidance encouraged, but did not
18   require, the state’s school districts, including each of the District Defendants, to:
19
                  ●     Work with each family and student to determine
20
                  what FAPE looks like for each student and family
21                during COVID-19. It may be different than the
                  individualized education program (IEP) developed pre-
22
                  COVID-19.
23
                  ●      Use the LEA model(s) for all students as the basis
24
                  for establishing FAPE.
25
                  ●      Ensure children with disabilities are included in
26                all offerings of school education models by using the
27                IEP process to customize educational opportunities and
                  provide supports when necessary.
28                                                69
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1                    ●     Use annual IEP to plan for traditional school year
2                    and while not required, it is suggested LEAs include
                     distance learning plans or addendums to address
3
                     distance learning needs during immediate or future
4                    school site closures.
5
     See Exhibit https://www.cde.ca.gov/ls/he/hn/strongertogether.asp; Exhibit C.
6
            109. The Defendant Districts did not reassess special needs students.
7
            110. Plaintiff D.P. had an IEP.
8
            111. Plaintiff D.P. was sent home on or around March 13, 2020 when
9
     Falcon Ridge Elementary School closed in response to the March 13, 2020
10
     Executive Order, and reassigned to distance learning / online learning.
11
            112. At no point during the 2019-2020 School Year was D.P.’s IEP
12

13
     changed to reflect the differences between distance learning / online instruction

14
     and in-person instruction, and has not been changed since.

15          113. Plaintiff D.P.’s parent, Plaintiff Martinez, was not contacted to
16   provide input into any revision to D.P.’s IEP.
17          114. No accommodations were offered to Plaintiff D.P. or Plaintiff
18   Martinez to account for the difficulties Plaintiffs faces in distance learning /
19   online instruction as compared to in-person instruction as a result of D.P.’s
20   disabilities.
21          115. Plaintiff K.P. had an IEP.
22          116. Plaintiff K.P. was sent home on or around March 13, 2020 when
23   John L. Golden Elementary closed in response to the March 13, 2020 Executive
24
     Order, and reassigned to distance learning / online learning.
25
            117. At no point during the 2019-2020 School Year was K.P.’s IEP
26
     changed to reflect the differences between distance learning / online instruction
27
     and in-person instruction, and has not been changed since.
28                                                  70
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1           118. Plaintiff K.P.’s parent, Plaintiff Martinez, was not contacted to
2    provide input into any revision to K.P.’s IEP.
3
            119. No accommodations were offered to Plaintiff K.P. or Plaintiff
4
     Martinez to account for the difficulties Plaintiffs faces in distance learning /
5
     online instruction as compared to in-person instruction as a result of K.P.’s
6
     disabilities.
7
            120. Plaintiff T.W. had an IEP.
8
            121. Plaintiff T.W. was sent home when Los Osos High School closed in
9
     response to the March 13, 2020 Executive Order and/or March 19 2020 Executive
10
     Order, and reassigned to distance learning / online learning.
11
            122. At no point during the 2019-2020 School Year was T.W.’s IEP
12

13
     changed to reflect the differences between distance learning / online instruction

14
     and in-person instruction, and has not been changed since.

15          123. Neither Plaintiff T.W.’s biological mother and educational rights
16   holder, Plaintiff Wood, nor T.W.’s guardian, Plaintiff Martinez, was contacted to
17   provide input into any revision to T.W.’s IEP.
18          124. No accommodations were offered to Plaintiff T.W. or Plaintiff
19   Martinez to account for the difficulties Plaintiff faces in distance learning / online
20   instruction as compared to in-person instruction as a result of T.W.’s disabilities.
21          125. Plaintiff P.C. had an IEP.
22          126. Plaintiff P.C. was sent home when Rancho Cucamonga High School
23   closed in response to the March 13, 2020 Executive Order and/or March 19 2020
24
     Executive Order, and reassigned to distance learning / online learning.
25
            127. At no point during the 2019-2020 School Year was P.C.’s IEP
26
     changed to reflect the differences between distance learning / online instruction
27
     and in-person instruction, and has not been changed since.
28                                                71
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1          128. Plaintiff P.C.’s parent, Plaintiff Hubbard, was not contacted to
2    provide input into any revision to P.C.’s IEP.
3
           129. No accommodations were offered to Plaintiff P.C. or Plaintiff
4
     Hubbard to account for the difficulties Plaintiff faces in distance learning / online
5
     instruction as compared to in-person instruction as a result of P.C.’s disabilities.
6
           130. The same is true for each member of the Proposed Class, including
7
     having an IEP, being sent home in response to the March 13, 2020 Executive
8
     Order or the March 19, 2020 Executive Order, being reassigned to distance
9
     learning / online instruction, being reassigned to distance learning / online
10
     instruction without any changes being made to their IEP or any accommodations
11
     being made for the disabilities they would face in distance learning / online
12

13
     instruction as compared to in-person instruction.

14
           131. On March 19, 2020, Governor Newsom issued the March 19, 2020

15   Executive Order ordering all Californians to stay at home (see Exhibit D),
16   effectively shutting down all schools in the state and effectively transferring all
17   special needs students to distance learning / online learning for the remainder of
18   the 2019-2020 School Year.
19         132. On May 4, 2020, Governor Newsom issued the May 4, 2020
20   Executive Order reaffirming that all residents of California continue to obey the
21   state public health directives and directing Defendant State Public Health Office
22   to establish criteria for re-opening the state. See Exhibit E.
23         133. The 2019-2020 School Year ended in May 2020 plus an ESY
24
     (Summer School) session in June 2020.
25
           134. On July 17, 2020, Defendant California Health and Human Services
26
     Agency, through Defendant Department of Public Health, issued the July 17,
27
     2020 DPH Guidance. Issued by Director Angell, this provided a framework for
28                                                72
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1    the reopening of in-person learning for K-12 schools in California. See Exhibit F.
2    This guidance required schools to remain closed until certain countywide medical
3
     conditions had been achieved. It made no mention of any exception or change for
4
     special education students.
5
           135. Compliance by California schools with the July 17, 2020 DPH
6
     Guidance was made mandatory by the May 4, 2020 Executive Order.
7
           136. Under this plan, created by the May 4, 2020 Executive Order and the
8
     July 17, 2020 DPH Guidance, most schools remain closed with special needs
9
     students continuing distance learning / online learning for the 2020-2021 School
10
     Year even though their IEPs have never been adjusted to account for the
11
     difficulties these students face in distance learning / online instruction as
12

13
     compared to in-person instruction as a result of their individual disabilities.

14
           137. Under this plan, Governor Newsom has allowed school athletics to

15   resume in-person.
16         138. Changes were made to the July 17, 2020 DPH Guidance, but none
17   has alleviated the issues complained of herein.
18         139. The 2020-2021 School Year began in August.
19         140. Neither Plaintiff D.P. nor Plaintiff K.P. nor Plaintiff T.W. nor
20   Plaintiff P.C. nor any other member of the Proposed Class has had their IEP
21   reassessed or any other accommodation made for the effect of their disabilities on
22   their ability to learn in a distance learning / online learning environment.
23         141. The May 4, 2020 Executive Order violates the Individuals with
24
     Disabilities Education Act, 20 U.S.C. §§1400-1487 (the “IDEA”).
25
           142. Under the IDEA, students with disabilities are entitled to a free
26
     appropriate public education (a “FAPE”). See 20 U.S.C. § 1400(d)(1)(A)); 20
27
     U.S.C. § 1400 et. seq.; 34 C.F.R. § 300.1 (2006) et seq. According to the United
28                                                73
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1    States Supreme Court, to ensure that a disabled student receives a FAPE, the
2    school district must “tailor [] to the unique needs of the handicapped child by
3
     means of an ‘individual educational program’ (IEP).” Hendrick Hudson Cent.
4
     Sch. Dist. Bd. of Educ. v. Rowley, 458 U.S. 176, 181 (1982) (quoting 20 U.S.C. §
5
     1401(18)); M.C. v. Antelope Valley Union High Sch. Dist., No. 14-56344, slip op.
6
     at 5 (9th Cir. 2017); 20 U.S.C. §§ 1401(14), 1414(d)(1)(A).                   An IEP is
7
     individually designed to provide educational benefit through an IEP reasonably
8
     calculated to enable a child to make progress appropriate in light of the child’s
9
     circumstances. Rowley, 458 U.S. at 201-204.
10
            143. Parents and school personnel develop an IEP for an eligible student
11
     based upon state law and the IDEA. 20 U.S.C. §§ 1401(14), 1414(d)(1). The
12

13
     United States Supreme Court has recognized that parental participation in the

14
     development of an IEP is the cornerstone of the IDEA. Winkleman v. Parma City

15   School Dist., 550 U.S. 516, 524, 127 S.Ct. 1994, 167 L.Ed.2d 904 (2007). The
16   informed involvement of parents is central to the IEP process: “Among the most
17   important procedural safeguards are those that protect the parents’ right to be
18   involved in the development of their child’s educational plan.” Amanda J. v.
19   Clark Cty. Sch. Dist., 267 F.3d 877, 892 (9th Cir. 2001) (“[p]rocedural violations
20   that interfere with parental participation in the IEP formulation process
21   undermine the very essence of the IDEA”); W.G. v. Board of Trustees of Target
22   Range School Dist. No. 23,960 F.2d 1479, 1483-1484 (9th Cir. 1992).
23          144. A local educational agency’s predetermination of an IEP seriously
24
     infringes on parental rights. The IEP team must consider the concerns of the
25
     parent for enhancing the student’s education and information on the student’s
26
     needs provided to or by the parent.             20 U.S.C. § 1414(d)(3)(A) (ii) and
27
     (d)(4)(A)(iii).
28                                                 74
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1          145. None of that has happened here.
2          146. Plaintiffs’ IEPs were violated when the March 13, 2020 Executive
3
     Order or the March 19, 2020 Executive Order resulted in reassigning them to
4
     distance learning because they no longer received the specific services they were
5
     to receive which could only be provided in-person and no accommodations were
6
     made for their new circumstances.
7
           147. The May 4, 2020 Executive Order requires Plaintiffs to continue
8
     distance learning / online learning for the 2020-2021 School Year without
9
     requiring that their IEPs be reassessed.
10
           148. Reassigning the Plaintiffs to distance learning / online learning
11
     without reassessing their IEPs violates the IDEA because it alters the conditions
12

13
     of their individual IEPs, many of which contain provisions that cannot be

14
     obtained by a reassignment to distance learning without special accommodation.

15         149. These items will be identified by expert testimony.
16         150. Even if the Districts have done some undisclosed reassessments,
17   such reassessments violated the procedural safeguards of the IDEA by excluding
18   parental participation and with local educational agencies predetermining the
19   outcomes.
20         151. The Plaintiffs each have struggled in the distance-learning
21   environment and are expected to continue struggling by being made to continue
22   distance-learning without accommodation to the point that they are being denied a
23   FAPE for the 2020-2021 School Year, costing them their right to a basic
24
     minimum education as defined by Congress through the IDEA.
25
           152. This violates the IDEA.
26
           153. The IDEA may be enforced through 42 U.S.C. §1983, which creates
27
     a private right of action against officials acting under color of state law who
28                                                75
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1    deprive a person of their federal rights. Smith v. Guilford Bd. Of Educ., 226 Fed.
2    Appx. 58 (2d Cir. 2007) (“[i]t is well-settled that, while the IDEA itself does not
3
     provide for monetary damages, plaintiffs may sue pursuant to [Section 1983] to
4
     enforce its provisions – including the right to a FAPE – and to obtain damages for
5
     violations of such provisions.”).
6
           154. Further, because the May 4, 2020 Executive Order discriminates
7
     against children with disabilities, as compared to children without disabilities, as
8
     it deprives them of a basic minimum education which it does not do to children
9
     without disabilities, the May 4 Executive Order likewise violations of Section 504
10
     of the Rehabilitation Act of 1973 (29 U.S.C. §794 as amended), which prohibits
11
     discrimination against any person who has a disability on any federally-funded
12

13
     “program or activity.” 42 U.S.C. §12131-12132.                     Section 504 of the

14
     Rehabilitation Act of 1973 protects public school children who have disabilities.

15   And it is a violation of Title II of the Americans with Disabilities Act of 1990
16   (“ADA”)); 29 U.S.C. § 794, et seq.
17         155. It is also a violation of the Due Process Clause of the Fourteenth
18   Amendment, which provides that no state shall “deprive any person of life,
19   liberty, or property, without due process of law.” U.S. Const. amend XIV. This
20   protects “fundamental rights and liberties,” such as the right to a basic minimum
21   education, which right has been defined by Congress through the IDEA, which
22   the May 4, 2020 Executive Order eliminates without reason or rational basis.
23         156. The four-part balancing test enunciate by the Supreme Court in
24
     Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008) weighs in favor
25
     of Plaintiffs’ request for an injunction:
26

27                (i)   Plaintiffs have a high likelihood of success on the
                  merits in this matter for the reasons outlined above,
28                                                76
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1               specifically the continuing violation of the IDEA which
2               will deprive the Plaintiffs of a FAPE for the 2020-2021
                School Year.
3

4               (ii) Irreparable harm will occur if the Plaintiffs’
                request for an injunction is not granted as Plaintiffs will
5               not receive a basic minimum education for the 2020-
6               2021 School Year, which is a real and immediate threat
                of future injury to the Plaintiffs because they are losing
7
                and will continue to lose a valuable formative year and
8               will fall further behind their peers, which injury cannot
                be made whole through compensation. See City of Los
9
                Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983).
10
                (iii) The interests at stake here weigh in favor of
11
                Plaintiffs as Congress has already declared a basic
12              minimum education to be a fundamental right through
                the IDEA and as this matter could needlessly injure
13
                800,000 children and their parents if an injunction is
14              denied, whereas granting the injunction only requires
15              Governor Newsom either to open the schools to these
                children, as he has already done for student athletes, or
16              to order the Defendant Districts to do what they are
17              already required to do under Federal and State law, as
                Governor Newsome himself suggested they do in the
18
                March 17, 2020 CDE Guidance.
19
                (iv) Ensuring that California’s 800,000 special needs
20              students receive the basic minimum education to which
21              they are entitled is in the public interest, especially
                where safe alternatives are available to achieve the
22
                Governor’s goals.
23

24   WHEREFORE, Plaintiffs respectfully request:
25
                (1) That this Honorable Court, in accordance with its
26
                authority under 28 U.S.C. §2201(a), issue an Order
27              Declaring that the May 4, 2020 Executive Order denies
28                                              77
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1              Plaintiffs and the other members of the Proposed Class
2              a basic minimum education because it violates the
               IDEA by altering the conditions of their individual IEPs
3
               by reassigning the Plaintiffs to distance learning / online
4              learning without requiring that accommodations be
               made to account for the effect of their disabilities on
5
               their ability to learn in a distance learning / online
6              learning environment to ensure they will substantively
7
               receive the same services to which they were entitled
               under the IEP; and
8
               (2) That this Honorable Court, in accordance with its
9
               authority under 28 U.S.C. §1343(a), further Order that a
10             Temporary Restraining Order be issued, followed by a
11             Permanent Injunction, enjoying Governor Newsom
               from assigning special needs students to distance
12             learning / online learning until his May 4, 2020
13             Executive Order is modified to eliminate the violations
               of the IDEA outlined herein; and
14

15             (3) That this Honorable Court, in accordance with its
               authority under 28 U.S.C. §2202 and under 20 U.S.C. §
16             1415(i)(2)(C)(iii), further Order that Plaintiffs and the
17             members of the Proposed Class are entitled to the
               services identified in Exhibit J until such time as
18
               appropriate accommodations are made for each or they
19             are returned to in-person instruction; and
20             (4) That this Honorable Court, in accordance with the
21             provisions of 42 U.S.C. §1988 and/or 20 U.S.C. §
               1415(i)(3)(B), Order that Plaintiffs be awarded
22
               reimbursement for the attorneys fees and costs they
23             incurred in seeking the vindication of their rights herein.
24

25                                    COUNT TWO
26    REQUEST FOR DECLARATION, TEMPORARY RESTRAINING
27   ORDER, AND PERMANENT INJUNCTION AGAINST DEFENDANTS
        DEPARTMENT OF EDUCATION, BOARD OF EDUCATION,
28                                             78
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1     SUPERINTENDENT THURMOND, HEALTH AND HUMAN SERVICES
2      AGENCY, DEPARTMENT OF PUBLIC HEALTH, AND DIRECTOR
                           ANGELL
3

4          157. Plaintiffs reallege and incorporate by reference herein paragraphs 1
5    through 99 as though set forth fully here in.
6          158. The State of California is subject to the United States Constitution,
7    Federal law, and its own Constitution and laws.
8          159. Governor Newsom, as Governor of the State of California, is vested
9    by the California Constitution with the “supreme executive power of the state”
10
     and is charged with seeing “that the law is faithfully executed.” Cal. Const. Art.
11
     V, §1. As such, he has the authority to issue Executive Orders to ensure that the
12
     law is faithfully executed.
13
           160. Defendant Department of Education is the agency within the State of
14
     California which oversees public education and is responsible for ensuring that
15
     California schools and districts follow the law, including but not limited to the
16
     IDEA, Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. §794 as
17
     amended), and Title II of the Americans with Disabilities Act of 1990 (“ADA”));
18
     29 U.S.C. § 794, et seq.
19

20
           161. Defendant Board of Education is the governing and policy-making

21
     body of the Department of Education.

22         162. Superintendent Thurmond is the State Superintendent of Public
23   Instruction and Director of Education, and is responsible for establishing the rules
24   for special education in the State of California to ensure that all “eligible children
25   with exceptional needs are given equal access to all child care and development
26   programs.” California Education Code Title 1, Division 1, Part 6, Chapter 2,
27   Article 9, Sec. 8250.
28                                                79
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1          163. The Department of Education has a Special Education Division
2    which oversees the District Defendants in their handling of special education
3
     issues and has the authority to investigate complaints against Districts.
4
           164. Defendant Health and Human Services Agency is the agency within
5
     the State of California tasked with administration and oversight of state and
6
     federal programs for health care, social services, public assistance and
7
     rehabilitation.
8
           165. Defendant Department of Public Health is the subdivision of the
9
     Health and Human Services Agency responsible for public health in California.
10
           166. Director Angell is the State Public Health Officer & Director of the
11
     Department of Public Health.
12

13
           167. On March 4, 2020, Governor Newsom proclaimed a State of

14
     Emergency as a result of the Covid-19 virus. See Exhibit A.

15         168. On March 13, 2020, Governor Newsom issued the March 13, 2020
16   Executive Order, allowing school districts to close and assign students to distance
17   learning / online learning.        The Governor specifically ordered Defendants
18   Department of Education and Health and Human Services Agency to “jointly
19   develop and issue guidance by March 17, 2020” which would implement distance
20   learning while “[e]nsuring students with disabilities receive a free and appropriate
21   public education consistent with their individualized education program and
22   meeting other procedural requirements under the Individuals with Disabilities Act
23   and California law.” See Exhibit B.
24
           169. Defendants Department of Education, State Board of Education, and
25
     Health and Human Services Agency issued that guidance on March 17, 2020.
26
     The March 17, 2020 CDE Guidance encouraged, but did not require, the state’s
27
     school districts, including each of the District Defendants, to:
28                                                 80
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1                ●     Work with each family and student to determine
2                what FAPE looks like for each student and family
                 during COVID-19. It may be different than the
3
                 individualized education program (IEP) developed pre-
4                COVID-19.
5                ●      Use the LEA model(s) for all students as the basis
6                for establishing FAPE.
7                ●      Ensure children with disabilities are included in
8                all offerings of school education models by using the
                 IEP process to customize educational opportunities and
9                provide supports when necessary.
10
                 ●     Use annual IEP to plan for traditional school year
11               and while not required, it is suggested LEAs include
12               distance learning plans or addendums to address
                 distance learning needs during immediate or future
13               school site closures.
14
     See https://www.cde.ca.gov/ls/he/hn/strongertogether.asp; Exhibit C.
15
           170. This left the decision of whether or not to reassess students to the
16

17
     Defendant Districts.

18
           171. The Defendant Districts did not reassess special needs students.

19         172. The Defendants were aware or should have been aware of this.
20         173. Plaintiff D.P. had an IEP.
21         174. Plaintiff D.P. was sent home on or around March 13, 2020 when
22   Falcon Ridge Elementary School closed in response to the March 13, 2020
23   Executive Order, and reassigned to distance learning / online learning.
24         175. At no point during the 2019-2020 School Year was D.P.’s IEP
25   changed to reflect the differences between distance learning / online instruction
26   and in-person instruction, and has not been changed since.
27

28                                                81
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1           176. Plaintiff D.P.’s parent, Plaintiff Martinez, was not contacted to
2    provide input into any revision to D.P.’s IEP.
3
            177. No accommodations were offered to Plaintiff D.P. or Plaintiff
4
     Martinez to account for the difficulties Plaintiffs faces in distance learning /
5
     online instruction as compared to in-person instruction as a result of D.P.’s
6
     disabilities.
7
            178. Plaintiff K.P. had an IEP.
8
            179. Plaintiff K.P. was sent home on or around March 13, 2020 when
9
     John L. Golden Elementary closed in response to the March 13, 2020 Executive
10
     Order, and reassigned to distance learning / online learning.
11
            180. Plaintiff K.P. was sent home on or around March 13, 2020 when
12

13
     John L. Golden Elementary closed in response to the March 13, 2020 Executive

14
     Order, and reassigned to distance learning / online learning.

15          181. At no point during the 2019-2020 School Year was K.P.’s IEP
16   changed to reflect the differences between distance learning / online instruction
17   and in-person instruction, and has not been changed since.
18          182. Plaintiff K.P.’s parent, Plaintiff Martinez, was not contacted to
19   provide input into any revision to K.P.’s IEP.
20          183. No accommodations were offered to Plaintiff K.P. or Plaintiff
21   Martinez to account for the difficulties Plaintiffs faces in distance learning /
22   online instruction as compared to in-person instruction as a result of K.P.’s
23   disabilities.
24
            184. Plaintiff T.W. had an IEP.
25
            185. Plaintiff T.W. was sent home when Los Osos High School closed in
26
     response to the March 13, 2020 Executive Order and/or March 19 2020 Executive
27
     Order, and reassigned to distance learning / online learning.
28                                                82
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1          186. At no point during the 2019-2020 School Year was T.W.’s IEP
2    changed to reflect the differences between distance learning / online instruction
3
     and in-person instruction, and has not been changed since.
4
           187. Neither Plaintiff T.W.’s biological mother and educational rights
5
     holder, Plaintiff Wood, nor T.W.’s guardian, Plaintiff Martinez, was contacted to
6
     provide input into any revision to T.W.’s IEP.
7
           188. No accommodations were offered to Plaintiff T.W. or Plaintiffs
8
     Martinez or Wood to account for the difficulties Plaintiff faces in distance
9
     learning / online instruction as compared to in-person instruction as a result of
10
     T.W.’s disabilities.
11
           189. Plaintiff P.C. had an IEP.
12

13
           190. Plaintiff P.C. was sent home when Rancho Cucamonga High School

14
     closed in response to the March 13, 2020 Executive Order and/or March 19 2020

15   Executive Order, and reassigned to distance learning / online learning.
16         191. At no point during the 2019-2020 School Year was P.C.’s IEP
17   changed to reflect the differences between distance learning / online instruction
18   and in-person instruction, and has not been changed since.
19         192. Plaintiff P.C.’s parent, Plaintiff Hubbard, was not contacted to
20   provide input into any revision to P.C.’s IEP.
21         193. No accommodations were offered to Plaintiff P.C. or Plaintiff
22   Hubbard to account for the difficulties Plaintiff faces in distance learning / online
23   instruction as compared to in-person instruction as a result of P.C.’s disabilities.
24
           194. The same is true for each member of the Proposed Class, including
25
     having an IEP, being sent home in response to the March 13, 2020 Executive
26
     Order or the March 19, 2020 Executive Order, being reassigned to distance
27
     learning / online instruction, being reassigned to distance learning / online
28                                                83
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1    instruction without any changes being made to their IEP or any accommodations
2    being made for the disabilities they would face in distance learning / online
3
     instruction as compared to in-person instruction.
4
           195. On May 4, 2020, Governor Newsom issued the May 4, 2020
5
     Executive Order reaffirming that all residents of California continue to obey the
6
     state public health directives and directing Defendant State Public Health Office
7
     to establish criteria for re-opening the state. See Exhibit E.
8
           196. On July 17, 2020, Defendant California Health and Human Services
9
     Agency, through Defendant Department of Public Health, issued the July 12,
10
     2020 DPH Guidance. This Guidance was issued by Director Angell and provided
11
     a framework for the reopening of in-person learning for K-12 schools in
12

13
     California. See Exhibit F. This Guidance required schools to remain closed until

14
     certain county-wide medical conditions had been achieved. However, it made no

15   mention of any exception for special needs students nor did it require any
16   reassessment of special needs students even though the Defendant Districts had
17   not conducted reassessments as previously recommended.
18         197. The 2020-2021 School Year began in August.
19         198. Under this plan, created by the May 4, 2020 Executive Order and the
20   July 17, 2020 DPH Guidance, most schools remain closed with special needs
21   students continuing distance learning / online learning for the 2020-2021 School
22   Year even though their IEPs have never been adjusted to account for the
23   difficulties these students face in distance learning / online instruction as
24
     compared to in-person instruction as a result of their individual disabilities.
25
           199. Changes were made to the July 17, 2020 DPH Guidance, but none
26
     has alleviate the issues complained of herein.
27

28                                                84
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1          200. Neither Plaintiff D.P. nor Plaintiff K.P. nor Plaintiff T.W. nor
2    Plaintiff P.C. nor any other member of the Proposed Class has had their IEP
3
     reassessed or any other accommodation made for the effect of their disabilities on
4
     their ability to learn in a distance learning / online learning environment.
5
           201. The March 13, 2020 Executive Order or the March 19, 2020
6
     Executive Order resulted in reassigning Plaintiffs to distance learning, and the
7
     May 4, 2020 Executive Order continued it. The March 19, 2020 Executive Order
8
     instructed the Defendants to issue guidance implementing distance learning in
9
     such a way that it protects the IDEA rights of students with disabilities. The
10
     March 17, 2020 CDE Guidance, however, failed to require the District
11
     Defendants to follow the IDEA, making this only a recommendation, and the July
12

13
     17, 2020 DPH Guidance failed to correct failure this even after the actions of the

14
     Defendant Districts cost the Plaintiffs (and other members of the Proposed Class)

15   their FAPE for the end of the 2019-2020 School Year.
16         202. Assigning the Plaintiffs to distance learning without requiring an
17   accommodation to correct for the effects of distance-learning on the Plaintiffs’
18   IEPs violates the IDEA because it means the Plaintiffs will no longer receive the
19   services to which they are entitled under their IEPs which necessarily require in-
20   person instruction, such as hand-over-hand guidance, having lessons drawn for
21   them on paper or pointed to by hand on computers, physically being shown
22   proper behaviors, physical therapy and the such.
23         203. This is a violation of the IDEA which requires that students with
24
     disabilities are entitled to a FAPE which requires school districts to tailor an IEP
25
     “to the unique needs of the handicapped child.” Hendrick Hudson Cent. Sch.
26
     Dist. Bd. of Educ. v. Rowley, 458 U.S. 176, 181 (1982) (quoting 20 U.S.C. §
27
     1401(18)); M.C. v. Antelope Valley Union High Sch. Dist., No. 14-56344, slip op.
28                                                85
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1    at 5 (9th Cir. 2017). This IEP must be created with the meaningful input of
2    parents. Winkleman v. Parma City School Dist., 550 U.S. 516, 524, 127 S.Ct.
3
     1994, 167 L.Ed.2d 904 (2007); Amanda J. v. Clark Cty. Sch. Dist., 267 F.3d 877,
4
     892 (9th Cir. 2001) (“[p]rocedural violations that interfere with parental
5
     participation in the IEP formulation process undermine the very essence of the
6
     IDEA”); W.G. v. Board of Trustees of Target Range School Dist. No. 23,960 F.2d
7
     1479, 1483-1484 (9th Cir. 1992). And must be amended when a student’s then
8
     current educational placement becomes unavailable, such as through distance
9
     learning.
10
           204. By failing to require the Defendant Districts to reassess special needs
11
     students as part of the July 17, 2020 DPH Guidance or the March 17, 2020 CDE
12

13
     Guidance, and any subsequent adjustments like the August 28, 2020 changes, and

14
     provide necessary accommodations, Defendants Department of Education, Board

15   of Education, Superintendent Thurmond, Health and Human Services Agency,
16   Department of Public Health, and Director Angell have failed to protect the rights
17   of the Plaintiffs under the IDEA and have caused or allowed California schools to
18   violate the IDEA in a manner which denied and is denying Plaintiffs and the
19   members of the Proposed Class a FAPE for the 2020-2021 School Year.
20         205. As a result of this violation, each of the Plaintiffs has struggled in the
21   distance-learning environment and are expected to continue struggling by being
22   made to continue distance-learning without accommodation to the point that they
23   are being denied a FAPE for the 2020-2021 School Year, costing them their right
24
     to a basic minimum education as defined by Congress through the IDEA.
25
           206. The IDEA may be enforced through 42 U.S.C. §1983, which creates
26
     a private right of action against officials acting under color of state law who
27
     deprive a person of their federal rights. Smith v. Guilford Bd. Of Educ., 226 Fed.
28                                               86
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1    Appx. 58 (2d Cir. 2007) (“[i]t is well-settled that, while the IDEA itself does not
2    provide for monetary damages, plaintiffs may sue pursuant to [Section 1983] to
3
     enforce its provisions – including the right to a FAPE – and to obtain damages for
4
     violations of such provisions.”).
5
           207. By failing to require the Defendant Districts to reassess special needs
6
     students prior to the start of the 2020-2021 School Year, Defendants Department
7
     of Education, Board of Education, and Superintendent Thurmond have failed in
8
     their responsibility to establish the rules for special education in the State of
9
     California to ensure that all “eligible children with exceptional needs are given
10
     equal access to all child care and development programs,” and have denied and
11
     are denying Plaintiffs and the members of the Proposed Class their right to a
12

13
     FAPE for the 2020-2021 School Year.

14
           208. By failing to require the Defendant Districts to reassess special needs

15   students as part of the July 17, 2020 DPH Guidance or the March 17, 2020 CDE
16   Guidance, or any subsequent adjustments, Defendants Department of Education,
17   Board of Education, Superintendent Thurmond, Health and Human Services
18   Agency, Department of Public Health, and Director Angell have denied and
19   continue to deny the Plaintiffs and the members of the Proposed Class their right
20   to a basic minimum education in violation of the Due Process Clause of the
21   Fourteenth Amendment, which provides that no state shall “deprive any person of
22   life, liberty, or property, without due process of law.” U.S. Const. amend XIV.
23         209. By issuing the July 17, 2020 DPH Guidance, and its subsequent
24
     adjustments, in a manner which appears neutral on its face, but which
25
     discriminates against students with special needs by failing to address the fact
26
     they have been denied a FAPE in the current distance-learning environment,
27
     Defendants Health and Human Services Agency, Department of Public Health,
28                                                87
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1    and Director Angell have violated the Plaintiffs’ and the members of the
2    Proposed Class’s right to equal protection under the United States Constitution.
3
           210. The four-part balancing test enunciate by the Supreme Court in
4
     Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008) weighs in favor
5
     of Plaintiffs’ request for an injunction:
6

7                 (i)    Plaintiffs have a high likelihood of success on the
                  merits in this matter for the reasons outlined above,
8
                  specifically the continuing violation of the IDEA which
9                 will deprive the Plaintiffs of a FAPE for the 2020-2021
10
                  School Year.

11                (ii) Irreparable harm will occur if the Plaintiffs’
                  request for an injunction is not granted as Plaintiffs will
12
                  not receive a basic minimum education for the 2020-
13                2021 School Year, which is a real and immediate threat
14
                  of future injury to the Plaintiffs because they are losing
                  and will continue to lose a valuable formative year and
15                will fall further behind their peers, which injury cannot
16                be made whole through compensation. See City of Los
                  Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983).
17

18
                  (iii) The interests at stake here weigh in favor of
                  Plaintiffs as Congress has already declared a basic
19                minimum education to be a fundamental right through
20                the IDEA and as this matter could needlessly injure
                  800,000 children and their parents if an injunction is
21
                  denied, whereas granting the injunction only requires
22                the Defendants to do what they are already charged with
                  doing by the Governor and the State Code and by
23
                  Federal and State law.
24
                  (iv) Ensuring that California’s 800,000 special needs
25
                  students receive the basic minimum education to which
26                they are entitled is in the public interest, especially
                  where safe alternatives are available to achieve
27
                  California’s health goals.
28                                                88
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1

2    WHEREFORE, Plaintiffs respectfully request:
3
                (1) That this Honorable Court, in accordance with its
4               authority under 28 U.S.C. §2201(a), issue an Order
5               Declaring that the Defendants have violated the IDEA
                by (1) failing to require, in either the March 17, 2020
6
                CDE Guidance, the July 17, 2020 DPH Guidance or
7               some other guidance, directive or order, that all special
                needs students assigned to distance learning / online
8
                learning during the 2020-2021 School Year be
9               reassessed before the start of the 2020-2021 School
10
                Year to determine what changes to their individual IEPs
                and/or other accommodations are needed to account for
11              the disabilities Plaintiffs face in distance learning /
12              online instruction as compared to in-person instruction;
                (2) by Defendants setting conditions on the re-opening
13
                of schools in the July 17, 2020 DPH Guidance, and its
14              subsequent revisions, which failed to protect the rights
                of special needs students under the IDEA; and (3) by
15
                Superintendent Thurmond failing to order the District
16              Defendants to perform reassessments and continuing to
17
                fail to require reassessments or by failing to order the
                District     Defendants      to     make     appropriate
18              accommodations; and
19
                (2) That this Honorable Court, in accordance with its
20              authority under 28 U.S.C. §1343(a), further Order that a
21
                Temporary Restraining Order be issued, followed by a
                Permanent Injunction, requiring Defendants to amend
22              their guidance or issue new guidance either to allow
23              special needs students to return to in-person learning
                immediately, or to require the immediate reassessment
24
                of special needs students assigned to engage in distance
25              learning for the 2020-2021 School Year; and
26              (3) That this Honorable Court, in accordance with its
27              authority under 28 U.S.C. §2202 and under 20 U.S.C. §
                1415(i)(2)(C)(iii), further Order that Plaintiffs and the
28                                              89
                    MARTINEZ, et al. v. NEWSOM, et al., PLAINTIFF’S COMPLAINT
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1                 members of the Proposed Class are entitled to obtain the
2                 DIS services identified in Exhibit J, at the defendants’
                  expense, until such time as appropriate accommodations
3
                  are made for each or they are returned to in-person
4                 instruction; and
5                 (4) That this Honorable Court, in accordance with the
6                 provisions of 42 U.S.C. §1988 and/or 20 U.S.C. §
                  1415(i)(3)(B), Order that Plaintiffs be awarded
7
                  reimbursement for the attorneys fees and costs they
8                 incurred in seeking the vindication of their rights herein.
9

10
                                       COUNT THREE

11       REQUEST FOR DECLARATION, TEMPORARY RESTRAINING
         ORDER, AND PERMANENT INJUNCTION AGAINST DISTRICT
12                         DEFENDANTS
13
           211. Plaintiffs reallege and incorporate by reference herein paragraphs 1
14
     through 99 as though set forth fully here in.
15
           212. District Defendants are public entities organized and existing
16

17
     pursuant to the laws of the state of California and doing business as a public-

18   school district. As such, District Defendants are subject to state and federal law,

19   including but not limited to the IDEA, Section 504 of the Rehabilitation Act of
20   1973 (29 U.S.C. §794 as amended), and Title II of the Americans with
21   Disabilities Act of 1990 (“ADA”)); 29 U.S.C. § 794, et seq.
22         213. The Department of Education has a Special Education Division
23   which oversees the District Defendants in their handling of special education
24   issues and has the authority to investigate complaints against Districts.
25         214. On March 4, 2020, Governor Newsom proclaimed a State of
26   Emergency as a result of the Covid-19 virus. See Exhibit A.
27

28                                                90
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1          215. On March 13, 2020, Governor Newsom issued the March 13, 2020
2    Executive Order, allowing District Defendants to close the schools under their
3
     control and assign students to distance learning / online learning. See Exhibit B.
4
           216. On March 17, 2020, Defendants Department of Education, State
5
     Board of Education, and Health and Human Services Agency issued the March
6
     17, 2020 Guidance encouraging the District Defendant to:
7

8                 ●     Work with each family and student to determine
                  what FAPE looks like for each student and family
9
                  during COVID-19. It may be different than the
10                individualized education program (IEP) developed pre-
11                COVID-19.

12                ●      Use the LEA model(s) for all students as the basis
                  for establishing FAPE.
13

14                ●      Ensure children with disabilities are included in
                  all offerings of school education models by using the
15
                  IEP process to customize educational opportunities and
16                provide supports when necessary.
17
                  ●     Use annual IEP to plan for traditional school year
18                and while not required, it is suggested LEAs include
                  distance learning plans or addendums to address
19
                  distance learning needs during immediate or future
20                school site closures.
21
     See https://www.cde.ca.gov/ls/he/hn/strongertogether.asp; Exhibit C.
22
           217. On March 19, 2020, Governor Newsom issued the March 19, 2020
23
     Executive Order ordering all Californians to stay at home (see Exhibit D),
24
     effectively shutting down all schools in the state and effectively transferring all
25
     special needs students to distance learning / online learning for the remainder of
26
     the 2019-2020 School Year.
27

28                                                91
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1          218. The 2019-2020 School Year ended in May 2020 plus an ESY
2    (Summer School) session in June 2020.
3
           219. The Defendant Districts did not reassess special needs students.
4
           220. Plaintiff D.P. had an IEP.
5
           221. Plaintiff D.P. was sent home on or around March 13, 2020 when
6
     Falcon Ridge Elementary School closed in response to the March 13, 2020
7
     Executive Order, and reassigned to distance learning / online learning.
8
           222. At no point during the 2019-2020 School Year was D.P.’s IEP
9
     changed to reflect the differences between distance learning / online instruction
10
     and in-person instruction, and has not been changed since.
11
           223. Plaintiff D.P.’s parent, Plaintiff Martinez, was not contacted to
12

13
     provide input into any revision to D.P.’s IEP.

14
           224. No accommodations were offered to Plaintiff D.P. or Plaintiff

15   Martinez to account for the difficulties Plaintiff faces in distance learning / online
16   instruction as compared to in-person instruction as a result of D.P.’s disabilities.
17         225. Plaintiff K.P. had an IEP.
18         226. Plaintiff K.P. was sent home on or around March 13, 2020 when
19   John L. Golden Elementary closed in response to the March 13, 2020 Executive
20   Order, and reassigned to distance learning / online learning.
21         227. At no point during the 2019-2020 School Year was K.P.’s IEP
22   changed to reflect the differences between distance learning / online instruction
23   and in-person instruction, and has not been changed since.
24
           228. Plaintiff K.P.’s parent, Plaintiff Martinez, was not contacted to
25
     provide input into any revision to K.P.’s IEP.
26

27

28                                                92
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1          229. No accommodations were offered to Plaintiff K.P. or Plaintiff
2    Martinez to account for the difficulties Plaintiff faces in distance learning / online
3
     instruction as compared to in-person instruction as a result of K.P.’s disabilities.
4
           230. Plaintiff T.W. had an IEP.
5
           231. Plaintiff T.W. was sent home when Los Osos High School closed in
6
     response to the March 13, 2020 Executive Order and/or March 19 2020 Executive
7
     Order, and reassigned to distance learning / online learning.
8
           232. At no point during the 2019-2020 School Year was T.W.’s IEP
9
     changed to reflect the differences between distance learning / online instruction
10
     and in-person instruction, and has not been changed since.
11
           233. Neither Plaintiff T.W.’s biological mother and educational rights
12

13
     holder, Plaintiff Wood, nor T.W.’s guardian, Plaintiff Martinez, was contacted to

14
     provide input into any revision to T.W.’s IEP.

15         234. No accommodations were offered to Plaintiff T.W. or Plaintiff
16   Martinez or Plaintiff Wood to account for the difficulties Plaintiff faces in
17   distance learning / online instruction as compared to in-person instruction as a
18   result of T.W.’s disabilities.
19         235. Plaintiff P.C. had an IEP.
20         236. Plaintiff P.C. was sent home when Rancho Cucamonga High School
21   closed in response to the March 13, 2020 Executive Order and/or March 19 2020
22   Executive Order, and reassigned to distance learning / online learning.
23         237. At no point during the 2019-2020 School Year was P.C.’s IEP
24
     changed to reflect the differences between distance learning / online instruction
25
     and in-person instruction, and has not been changed since.
26
           238. Plaintiff P.C.’s parent, Plaintiff Hubbard, was not contacted to
27
     provide input into any revision to P.C.’s IEP.
28                                                 93
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1          239. No accommodations were offered to Plaintiff P.C. or Plaintiff
2    Hubbard to account for the difficulties Plaintiff faces in distance learning / online
3
     instruction as compared to in-person instruction as a result of P.C.’s disabilities.
4
           240. The same is true for each member of the Proposed Class, including
5
     having an IEP, being sent home in response to the March 13, 2020 Executive
6
     Order or the March 19, 2020 Executive Order, being reassigned to distance
7
     learning / online instruction, being reassigned to distance learning / online
8
     instruction without any changes being made to their IEP or any accommodations
9
     being made for the disabilities they would face in distance learning / online
10
     instruction as compared to in-person instruction.
11
           241. On May 4, 2020, Governor Newsom issued the May 4, 2020
12

13
     Executive Order reaffirming that all residents of California continue to obey the

14
     state public health directives and directing Defendant State Public Health Office

15   to establish criteria for re-opening the state. See Exhibit E.
16         242. On July 17, 2020, Defendant California Health and Human Services
17   Agency, through Defendant Department of Public Health, issued the July 12,
18   2020 DPH Guidance. This Guidance was issued by Director Angell and provided
19   a framework for the reopening of in-person learning for K-12 schools in
20   California. See Exhibit F. This Guidance required schools to remain closed until
21   certain county-wide medical conditions had been achieved. However, it made no
22   mention of any exception for special needs students nor did it require any
23   reassessment of special needs students even though the Defendant Districts had
24
     not conducted reassessments as previously recommended.
25
           243. The 2020-2021 School Year began in August.
26
           244. Under this plan, created by the May 4, 2020 Executive Order and the
27
     July 17, 2020 DPH Guidance, most schools remain closed with special needs
28                                                94
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1    students continuing distance learning / online learning for the 2020-2021 School
2    Year even though their IEPs have never been adjusted to account for the
3
     difficulties these students face in distance learning / online instruction as
4
     compared to in-person instruction as a result of their individual disabilities.
5
           245. Neither Plaintiff D.P. nor Plaintiff K.P. nor Plaintiff T.W. nor
6
     Plaintiff P.C. nor any other member of the Proposed Class has had their IEP
7
     reassessed or any other accommodation made for the effect of their disabilities on
8
     their ability to learn in a distance learning / online learning environment.
9
           246. Assigning the Plaintiffs to distance learning without requiring an
10
     accommodation to correct for the effects of distance-learning on the Plaintiffs’
11
     IEPs violates the IDEA because it means the Plaintiffs will no longer receive the
12

13
     services to which they are entitled under their IEPs which necessarily require in-

14
     person instruction, such as hand-over-hand guidance, having lessons drawn for

15   them on paper or pointed to by hand on computers, physically being shown
16   proper behaviors, physical therapy and the such.
17         247. This is a violation of the IDEA which requires that students with
18   disabilities are entitled to a FAPE which requires school districts to tailor an IEP
19   “to the unique needs of the handicapped child.” Hendrick Hudson Cent. Sch.
20   Dist. Bd. of Educ. v. Rowley, 458 U.S. 176, 181 (1982) (quoting 20 U.S.C. §
21   1401(18)); M.C. v. Antelope Valley Union High Sch. Dist., No. 14-56344, slip op.
22   at 5 (9th Cir. 2017). This IEP must be created with the meaningful input of
23   parents. Winkleman v. Parma City School Dist., 550 U.S. 516, 524, 127 S.Ct.
24
     1994, 167 L.Ed.2d 904 (2007); Amanda J. v. Clark Cty. Sch. Dist., 267 F.3d 877,
25
     892 (9th Cir. 2001) (“[p]rocedural violations that interfere with parental
26
     participation in the IEP formulation process undermine the very essence of the
27
     IDEA”); W.G. v. Board of Trustees of Target Range School Dist. No. 23,960 F.2d
28                                                95
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1    1479, 1483-1484 (9th Cir. 1992). And must be amended when a student’s then
2    current educational placement becomes unavailable, such as through distance
3
     learning.
4
           248. The IEP must be in place each year before the start of the year. 34
5
     C.F.R. § 300.323(a) (2006); Cal. Educ. Code, § 56344, subd. (c).
6
           249. By failing to reassess special needs students the Defendant Districts
7
     have violated the IDEA in a manner which denied and is denying Plaintiffs and
8
     the members of the Proposed Class a FAPE for the 2020-2021 School Year.
9
           250. As a result of this violation, each of the Plaintiffs has struggled in the
10
     distance-learning environment and are expected to continue struggling by being
11
     made to continue distance-learning without accommodation to the point that they
12

13
     are being denied a FAPE for the 2020-2021 School Year, costing them their right

14
     to a basic minimum education as defined by Congress through the IDEA.

15         251. The IDEA may be enforced through 42 U.S.C. §1983, which creates
16   a private right of action against officials acting under color of state law who
17   deprive a person of their federal rights. Smith v. Guilford Bd. Of Educ., 226 Fed.
18   Appx. 58 (2d Cir. 2007) (“[i]t is well-settled that, while the IDEA itself does not
19   provide for monetary damages, plaintiffs may sue pursuant to [Section 1983] to
20   enforce its provisions – including the right to a FAPE – and to obtain damages for
21   violations of such provisions.”).
22         252. By failing to reassess special needs students the District Defendants
23   have denied and are denying the Plaintiffs and the members of the Proposed Class
24
     their right to a basic minimum education in violation of the Due Process Clause
25
     of the Fourteenth Amendment, which provides that no state shall “deprive any
26
     person of life, liberty, or property, without due process of law.” U.S. Const.
27
     amend XIV.
28                                                96
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1          253. The four-part balancing test enunciate by the Supreme Court in
2    Winter v. Natural Resources Defense Council, 555 U.S. 7 (2008) weighs in favor
3
     of Plaintiffs’ request for an injunction:
4

5                 (i)    Plaintiffs have a high likelihood of success on the
                  merits in this matter for the reasons outlined above,
6
                  specifically the continuing violation of the IDEA which
7                 will deprive the Plaintiffs of a FAPE for the 2020-2021
                  School Year.
8

9                 (ii) Irreparable harm will occur if the Plaintiffs’
                  request for an injunction is not granted as Plaintiffs will
10
                  not receive a basic minimum education for the 2020-
11                2021 School Year, which is a real and immediate threat
                  of future injury to the Plaintiffs because they are losing
12
                  and will continue to lose a valuable formative year and
13                will fall further behind their peers, which injury cannot
14
                  be made whole through compensation. See City of Los
                  Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983).
15
                  (iii) The interests at stake here weigh in favor of
16
                  Plaintiffs as Congress has already declared a basic
17                minimum education to be a fundamental right through
18
                  the IDEA and as this matter could needlessly injure
                  800,000 children and their parents if an injunction is
19                denied, whereas granting the injunction only requires
20                the Defendants to due what they are already charged
                  with doing by the Governor and the State Code and by
21
                  Federal and State law.
22
                  (iv) Ensuring that California’s 800,000 special needs
23                students receive the basic minimum education to which
24                they are entitled is in the public interest, especially
                  where safe alternatives are available to achieve
25
                  California’s health goals.
26

27   WHEREFORE, Plaintiffs respectfully request:
28                                                97
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1              (1) That this Honorable Court, in accordance with its
2              authority under 28 U.S.C. §2201(a), issue an Order
               Declaring that the District Defendants have violated the
3
               IDEA by failing to reassess the Plaintiffs and the
4              members of the Proposed Class before the start of the
               2020-2021 School Year to determine what changes to
5
               their individual IEPs and/or other accommodations are
6              needed to account for the difficulties Plaintiffs face in
7
               distance learning / online instruction as compared to in-
               person instruction as a result of their disabilities; and (2)
8              by continuing to fail to reassess Plaintiffs and the
9              members of the Proposed Class; and
10             (2) That this Honorable Court, in accordance with its
11             authority under 28 U.S.C. §1343(a), further Order that a
               Temporary Restraining Order be issued, followed by a
12             Permanent Injunction, requiring the District Defendants
13             to immediately reassess the Plaintiffs and all members
               of the Proposed Class, i.e. special needs students
14
               assigned to engage in distance learning for the 2020-
15             2021 School Year; and
16             (3) That this Honorable Court, in accordance with its
17             authority under 28 U.S.C. §2202 and under 20 U.S.C. §
               1415(i)(2)(C)(iii), further Order that Plaintiffs and the
18
               members of the Proposed Class are entitled to obtain the
19             DIS services identified in Exhibit J, at the defendants’
               expense, until such time as appropriate accommodations
20
               are made for each or they are returned to in-person
21             instruction; and
22
               (4) That this Honorable Court, in accordance with the
23             provisions of 42 U.S.C. §1988 and/or 20 U.S.C. §
24
               1415(i)(3)(B), Order that Plaintiffs be awarded
               reimbursement for the attorneys fees and costs they
25             incurred in seeking the vindication of their rights herein.
26

27

28                                             98
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1                                       COUNT FOUR
2            DENIAL OF A FAPE FOR THE 2019-2020 SCHOOL YEAR
3                       BY DISTRICT DEFENDANTS
4
           254. Plaintiffs reallege and incorporate by reference herein paragraphs 1
5
     through 99 as though set forth fully here in.
6
           255. District Defendants are public entities organized and existing
7
     pursuant to the laws of the state of California and doing business as a public-
8
     school district. As such, District Defendants are subject to state and federal law,
9
     including but not limited to the IDEA, Section 504 of the Rehabilitation Act of
10
     1973 (29 U.S.C. §794 as amended), and Title II of the Americans with
11
     Disabilities Act of 1990 (“ADA”)); 29 U.S.C. § 794, et seq.
12

13
           256. On March 4, 2020, Governor Newsom proclaimed a State of

14
     Emergency as a result of the Covid-19 virus. See Exhibit A.

15         257. On March 13, 2020, Governor Newsom issued the March 13, 2020
16   Executive Order, allowing District Defendants to close the schools under their
17   control and assign students to distance learning / online learning. See Exhibit B.
18         258. On March 17, 2020, Defendants Department of Education, State
19   Board of Education, and Health and Human Services Agency issued the March
20   17, 2020 Guidance encouraging the Defendant Districts to:
21
                  ●     Work with each family and student to determine
22
                  what FAPE looks like for each student and family
23                during COVID-19. It may be different than the
24
                  individualized education program (IEP) developed pre-
                  COVID-19.
25
                  ●      Use the LEA model(s) for all students as the basis
26
                  for establishing FAPE.
27

28                                                99
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1                 ●      Ensure children with disabilities are included in
2                 all offerings of school education models by using the
                  IEP process to customize educational opportunities and
3
                  provide supports when necessary.
4
                  ●     Use annual IEP to plan for traditional school year
5                 and while not required, it is suggested LEAs include
6                 distance learning plans or addendums to address
                  distance learning needs during immediate or future
7
                  school site closures.
8
     See https://www.cde.ca.gov/ls/he/hn/strongertogether.asp; Exhibit C.
9

10
           259. On March 19, 2020, Governor Newsom issued the March 19, 2020

11   Executive Order ordering all Californians to stay at home (see Exhibit D),

12   effectively shutting down all schools in the state and effectively transferring all
13   special needs students to distance learning / online learning for the remainder of
14   the 2019-2020 School Year.
15         260. The 2019-2020 School Year ended in May 2020 plus an ESY
16   (Summer School) session in June 2020.
17         261. The Defendant Districts did not reassess special needs students.
18         262. Plaintiff D.P. had an IEP.
19         263. Plaintiff D.P. was sent home on or around March 13, 2020 when
20
     Falcon Ridge Elementary School closed in response to the March 13, 2020
21
     Executive Order, and reassigned to distance learning / online learning.
22
           264. At no point during the 2019-2020 School Year was D.P.’s IEP
23
     changed to reflect the differences between distance learning / online instruction
24
     and in-person instruction, and has not been changed since.
25
           265. Plaintiff D.P.’s parent, Plaintiff Martinez, was not contacted to
26
     provide input into any revision to D.P.’s IEP.
27

28                                               100
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1          266. No accommodations were offered to Plaintiff D.P. or Plaintiff
2    Martinez to account for the difficulties Plaintiff faced in distance learning / online
3
     instruction as compared to in-person instruction as a result of D.P.’s disabilities.
4
           267. Plaintiff K.P. had an IEP.
5
           268. Plaintiff K.P. was sent home on or around March 13, 2020 when
6
     John L. Golden Elementary closed in response to the March 13, 2020 Executive
7
     Order, and reassigned to distance learning / online learning.
8
           269. At no point during the 2019-2020 School Year was K.P.’s IEP
9
     changed to reflect the differences between distance learning / online instruction
10
     and in-person instruction, and has not been changed since.
11
           270. Plaintiff K.P.’s parent, Plaintiff Martinez, was not contacted to
12

13
     provide input into any revision to K.P.’s IEP.

14
           271. No accommodations were offered to Plaintiff K.P. or Plaintiff

15   Martinez to account for the difficulties Plaintiff faced in distance learning / online
16   instruction as compared to in-person instruction as a result of K.P.’s disabilities.
17         272. Plaintiff T.W. had an IEP.
18         273. Plaintiff T.W. was sent home when Los Osos High School closed in
19   response to the March 13, 2020 Executive Order and/or March 19 2020 Executive
20   Order, and reassigned to distance learning / online learning.
21         274. At no point during the 2019-2020 School Year was T.W.’s IEP
22   changed to reflect the differences between distance learning / online instruction
23   and in-person instruction, and has not been changed since.
24
           275. Neither Plaintiff T.W.’s biological mother and educational rights
25
     holder, Plaintiff Wood, nor T.W.’s guardian, Plaintiff Martinez, was contacted to
26
     provide input into any revision to T.W.’s IEP.
27

28                                               101
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1          276. No accommodations were offered to Plaintiff T.W. or Plaintiff
2    Martinez or Plaintiff Wood to account for the difficulties Plaintiff faced in
3
     distance learning / online instruction as compared to in-person instruction as a
4
     result of T.W.’s disabilities.
5
           277. Plaintiff P.C. had an IEP.
6
           278. Plaintiff P.C. was sent home when Rancho Cucamonga High School
7
     closed in response to the March 13, 2020 Executive Order and/or March 19 2020
8
     Executive Order, and reassigned to distance learning / online learning.
9
           279. At no point during the 2019-2020 School Year was P.C.’s IEP
10
     changed to reflect the differences between distance learning / online instruction
11
     and in-person instruction, and has not been changed since.
12

13
           280. Plaintiff P.C.’s parent, Plaintiff Hubbard, was not contacted to

14
     provide input into any revision to P.C.’s IEP.

15         281. No accommodations were offered to Plaintiff P.C. or Plaintiff
16   Hubbard to account for the difficulties Plaintiff faced in distance learning / online
17   instruction as compared to in-person instruction as a result of P.C.’s disabilities.
18         282. The same is true for each member of the Proposed Class, including
19   having an IEP, being sent home in response to the March 13, 2020 Executive
20   Order or the March 19, 2020 Executive Order, being reassigned to distance
21   learning / online instruction, being reassigned to distance learning / online
22   instruction without any changes being made to their IEP or any accommodations
23   being made for the disabilities they would face in distance learning / online
24
     instruction as compared to in-person instruction.
25
           283. Neither Plaintiff D.P. nor Plaintiff K.P. nor Plaintiff T.W. nor
26
     Plaintiff P.C. nor any other member of the Proposed Class has had their IEP
27

28                                                102
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1    reassessed or any other accommodation made for the effect of their disabilities on
2    their ability to learn in a distance learning / online learning environment.
3
           284. Assigning the Plaintiffs to distance learning without requiring an
4
     accommodation to correct for the effects of distance-learning on the Plaintiffs’
5
     IEPs violates the IDEA because it means the Plaintiffs will no longer receive the
6
     services to which they are entitled under their IEPs which necessarily require in-
7
     person instruction, such as hand-over-hand guidance, having lessons drawn for
8
     them on paper or pointed to by hand on computers, physically being shown
9
     proper behaviors, physical therapy and the such.
10
           285. This is a violation of the IDEA which requires that students with
11
     disabilities are entitled to a FAPE which requires school districts to tailor an IEP
12

13
     “to the unique needs of the handicapped child.” Hendrick Hudson Cent. Sch.

14
     Dist. Bd. of Educ. v. Rowley, 458 U.S. 176, 181 (1982) (quoting 20 U.S.C. §

15   1401(18)); M.C. v. Antelope Valley Union High Sch. Dist., No. 14-56344, slip op.
16   at 5 (9th Cir. 2017). This IEP must be created with the meaningful input of
17   parents. Winkleman v. Parma City School Dist., 550 U.S. 516, 524, 127 S.Ct.
18   1994, 167 L.Ed.2d 904 (2007); Amanda J. v. Clark Cty. Sch. Dist., 267 F.3d 877,
19   892 (9th Cir. 2001) (“[p]rocedural violations that interfere with parental
20   participation in the IEP formulation process undermine the very essence of the
21   IDEA”); W.G. v. Board of Trustees of Target Range School Dist. No. 23,960 F.2d
22   1479, 1483-1484 (9th Cir. 1992). And must be amended when a student’s then
23   current educational placement becomes unavailable, such as through distance
24
     learning.
25
           286. The Plaintiffs each struggled in the distance-learning environment to
26
     the point that they were denied a FAPE for the 2019-2020 School Year, costing
27

28                                               103
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1    them their right to a basic minimum education as defined by Congress through the
2    IDEA.
3
           287. By failing to reassess special needs students the Defendant Districts
4
     violated the IDEA in a manner which denied Plaintiffs and the members of the
5
     Proposed Class a FAPE for the 2019-2020 School Year.
6
           288. The IDEA may be enforced through 42 U.S.C. §1983, which creates
7
     a private right of action against officials acting under color of state law who
8
     deprive a person of their federal rights. Smith v. Guilford Bd. Of Educ., 226 Fed.
9
     Appx. 58 (2d Cir. 2007) (“[i]t is well-settled that, while the IDEA itself does not
10
     provide for monetary damages, plaintiffs may sue pursuant to [Section 1983] to
11
     enforce its provisions – including the right to a FAPE – and to obtain damages for
12

13
     violations of such provisions.”).

14
           289. Plaintiffs and the member of the Proposed Class should be granted

15   compensatory education, including related services to correct for the denial of a
16   FAPE in the 2019-2020 School Year. Courts have broad discretion to fashion an
17   equitable remedy under the IDEA. This can include “compensatory education” to
18   put the student in the same position he would have been in had he received the
19   appropriate education from the school district in the first place. T.B. v. San Diego
20   Uni. Sch. Dist., No. 08-CV-28MMA (S.D. Cal. Mar. 30, 2011). The IDEA does
21   not explicitly authorize the award of compensatory education, but based on the
22   Supreme Court’s Burlington decision, compensatory education as a remedy has
23   been embraced by most circuits, including the Ninth, under the IDEA’s
24
     authorization that courts may “grant such relief as the court determines
25
     appropriate.” R.P. v. Prescott Unified Sch. Dist., 631 F.3d 1117, 1125 (9th Cir.
26
     2011); Parents of Student W., 31 F.3d at 1496 (9th Cir. 1994); Reid v. District of
27
     Columbia, 401 F.3d 516, 522 (D.C. Cir. 2005); Phil v. Mass. Dep’t of Educ., 9
28                                               104
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1    F.3d 184, 188-89 (1st Cir. 1993); Ridgewood Bd. of Educ. v. N.E. ex rel. M.E.,
2    172 F.3d 238, 249 (3d Cir. 1999); G. ex rel. RG v. Fort Bragg Dependent Schs.,
3
     343 F.3d 295, 308-09 (4th Cir. 2003); Bd. of Educ. of Oak Park & River Forest
4
     High Sch. Dist. 200 v. Ill. State Bd. of Educ., 79 F.3d 654, 656 (7th Cir. 1996);
5
     Miener v. Missouri, 800 F.2d 749, 753 (8th Cir. 1986).
6

7
     WHEREFORE, Plaintiffs respectfully request that this Honorable Court grant
8
     the following relief:
9

10                (1) That this Honorable Court, in accordance with its
11                authority under 28 U.S.C. §2201(a), issue an Order
                  Declaring that the District Defendants have violated the
12                IDEA and denied the Plaintiffs a FAPE for the end of
13                the 2019-2020 School Year by failing, when Plaintiffs
                  were sent home to finish the school year in a distance-
14
                  learning environment, to determine what changes to the
15                Plaintiffs’ individual IEPs and/or other accommodations
                  needed to be made to account for the difficulties
16
                  Plaintiffs faced in distance learning / online instruction
17                as compared to in-person instruction as a result of their
18                disabilities; and

19                (2) That this Honorable Court, in accordance with its
                  authority under 28 U.S.C. §2202 and under 20 U.S.C. §
20
                  1415(i)(2)(C)(iii), further Order that Plaintiffs and the
21                members of the Proposed Class are entitled to
22                compensatory education, including but not limited to
                  those DIS services identified in Exhibit J, to catch them
23                up for the regression they suffered in the 2019-2020
24                School Year while in the distance-learning
                  environment; and
25

26                (3) That this Honorable Court, in accordance with the
                  provisions of 42 U.S.C. §1988 and/or 20 U.S.C. §
27
                  1415(i)(3)(B), Order that Plaintiffs be awarded
28                                               105
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1              reimbursement for the attorneys fees and costs they
2              incurred in seeking the vindication of their rights herein.
3
     DATED: August 31, 2020                         Respectfully submitted,
4

5

6

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